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                    Exhibit 1
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14

15                               UNITED STATES DISTRICT COURT
16                              NORTHERN DISTRICT OF CALIFORNIA
17                                  SAN FRANCISCO DIVISION
18   INTEL CORPORATION,                             Case No. 18-CV-02848-WHO
19                 Plaintiff,                       DEFENDANT TELA INNOVATIONS,
                                                    INC.’S DISCLOSURE OF ASSERTED
20          v.                                      CLAIMS AND INFRINGEMENT
                                                    CONTENTIONS WITH RESPECT TO
21   TELA INNOVATIONS, INC.                         PLAINTIFF INTEL CORP.
22                 Defendant.                              PATENT L. R. 3-1
23

24

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     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES
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     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES
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 1            Declaratory-Judgment Defendant and Counter-Plaintiff Tela Innovations, Inc. (“Tela”)
 2   hereby provides its Disclosure of Asserted Claims and Infringement Contentions to Intel Corp.
 3
     pursuant to Patent L.R. 3-1. This initial disclosure is based on information currently available to
 4
     Tela. Tela’s investigation into the facts of this action is ongoing; Tela has not completed its
 5
     investigation of the facts relating to this case, discovery in this action, or its preparation for trial.
 6

 7   This disclosure is without prejudice to Tela’s right to produce evidence of any additional

 8   infringing claims or products.

 9            Accompanying this Patent L.R. 3-1 Disclosure is Tela’s Patent L.R. 3-2 document
10   production. Tela reserves the right to supplement this production as necessary under the
11
     applicable rules.
12

13   I.       PATENT LOCAL RULES 3-1(a)-(c): ASSERTED CLAIMS, ACCUSED
              INSTRUMENTALITIES, AND CLAIM CHARTS
14
              Appendices A-G contain representative claim charts showing where each element of the
15

16   Asserted Claims is found within at least one area of each integrated circuit device fabricated using

17   Intel’s 14nm and 22nm processes (“the Accused Instrumentality”).

18
          Appendix            Asserted Patent                                 Claim Chart
19

20
             A        U.S. Patent No. 7,446,352           ʼ352 Claim Chart for Intel’s 14nm Processors
21

22           B        U.S. Patent No. 7,943,966           ʼ966 Claim Chart for Intel’s 14nm Processors

23
             C        U.S. Patent No. 7,948,012           ʼ012 Claim Chart for Intel’s 14nm Processors
24

25           D        U.S. Patent No. 10,141,334          ʼ334 Claim Chart for Intel’s 14nm Processors
26
             E        U.S. Patent No. 10,141,335          ʼ335 Claim Chart for Intel’s 14nm Processors
27

28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                         2
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 1
           F             U.S. Patent No. 7,943,966       ʼ966 Claim Chart for Intel’s 22nm Processors
 2

 3        G              U.S. Patent No. 7,948,012       ʼ012 Claim Chart for Intel’s 22nm Processors
 4
               The above-listed claim charts provide an identification of the claims asserted against the
 5

 6   14nm Accused Instrumentalities and the 22nm Accused Instrumentalities as required by Patent L.

 7   R. 3-1. Infringement for each is alleged under35 U.S.C. § 271(a). Tela does not allege that any
 8   claims include means-plus-function limitations under 35 U.S.C. § 112.
 9
               A.       14nm Accused Instrumentalities
10
               Pursuant to Patent L. R. 3-1(b), Tela identifies Intel’s microprocessors fabricated using
11
     Tri-Gate technology at a 14nm process node and products that contain such microprocessors or
12
     other integrated circuit devices fabricated using a 14nm process node – e.g., NUC Mini PCs, NUC
13

14   Kits, NUC Boards, chipsets, and FPGAs – as Accused Instrumentalities.

15             Tela identifies Intel’s 14nm microprocessors in at least the following product categories:
16                 Intel Codename: Airmont
17
                   Intel Codename: Broadwell
18
                   Intel Codename: Skylake
19

20                 Intel Codename: Kaby Lake

21                 Intel Codename: Coffee Lake

22                 Intel Codename: Cascade Lake
23
                   Intel Codename: Cooper Lake
24
                   Intel Codename: Goldmont
25
                   Intel Codename: Goldmont Plus
26
27                 Intel Codename: Tremont

28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                        3
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 1           Intel Core i9 X-series
 2            (https://www.intel.com/content/www/us/en/products/processors/core/x-series.html, last
 3
              visited Dec. 31, 2018)
 4
             Intel Core i9 Processors
 5
              (https://www.intel.com/content/www/us/en/products/processors/core/i9-processors.html,
 6

 7            last visited Dec. 31, 2018)

 8           Intel Core i7 Processors
 9            (https://www.intel.com/content/www/us/en/products/processors/core/i7-processors.html,
10
              last visited Dec. 31, 2018)
11
             Intel Core i5 Processors
12
              (https://www.intel.com/content/www/us/en/products/processors/core/i5-
13

14            processors.html?page=2, last visited Dec. 31, 2018)

15           Intel Core i3 Processors
16            (https://www.intel.com/content/www/us/en/products/processors/core/i3-processors.html,
17
              last visited Dec. 31, 2018)
18
             Intel Core m3 Processors
19
              (https://www.intel.com/content/www/us/en/products/processors/core/m3-
20
21            processors.html, last visited Dec. 31, 2018)

22           Intel vPRO Platform

23            (https://www.intel.com/content/www/us/en/products/processors/core/core-vpro.html,
24
              last visited Dec. 31, 2018)
25
             Intel Xeon Platinum Processors
26
              (https://www.intel.com/content/www/us/en/products/processors/xeon/scalable/platinum-
27

28            processors.html, last visited Dec. 31, 2018)


     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                             4
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 1           Intel Xeon Gold Processors
 2            (https://www.intel.com/content/www/us/en/products/processors/xeon/scalable/gold-
 3
              processors.html, last visited Dec. 31, 2018)
 4
             Intel Xeon Silver Processors
 5
              (https://www.intel.com/content/www/us/en/products/processors/xeon/scalable/silver-
 6

 7            processors.html, last visited Dec. 31, 2018)

 8           Intel Xeon Bronze Processors
 9            (https://www.intel.com/content/www/us/en/products/processors/xeon/scalable/bronze-
10
              processors.html, last visited Dec. 31, 2018)
11
             Intel Xeon D Processors
12
              (https://www.intel.com/content/www/us/en/products/processors/xeon/d-processors.html,
13

14            last visited Jan. 2, 2019)

15           Intel Xeon W Processors
16            (https://www.intel.com/content/www/us/en/products/processors/xeon/w-
17
              processors.html, last visited Jan. 2, 2019)
18
             Intel Xeon E Processors
19
              (https://www.intel.com/content/www/us/en/products/processors/xeon/e-processors.html,
20
21            last visited Jan. 2, 2019)

22           Intel Atom x7, x5, and x3 Processors

23            (https://www.intel.com/content/www/us/en/products/processors/atom/x-series.html, last
24
              visited Jan. 2, 2019)
25
             Intel Atom C Processors
26
              (https://www.intel.com/content/www/us/en/products/processors/atom/c-series.html, last
27

28            visited Jan. 2, 2019)


     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                              5
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 1              Intel Pentium Processors
 2               (https://www.intel.com/content/www/us/en/products/processors/pentium.html, last
 3
                 visited Jan. 2, 2019)
 4
                Intel Celeron Processors
 5
                 (https://www.intel.com/content/www/us/en/products/processors/celeron.html, last
 6

 7               visited Jan. 2, 2019)

 8              Intel XMM 7660 Modems (https://www.intel.com/content/www/us/en/wireless-
 9               products/mobile-communications/xmm-7660-brief.html, last visited Jan. 2, 2019)
10
                Intel XMM 7560 Modems (https://www.intel.com/content/www/us/en/wireless-
11
                 products/mobile-communications/xmm-7560-brief.html, last visited Jan. 2, 2019)
12
               Discovery is ongoing and Tela reserves the right to supplement the above list when Intel
13

14   begins production of relevant information. From public sources, the model numbers for

15   microprocessors fabricated using Intel’s 14nm process node or smaller include at least the

16   following:
17
                                                            Intel® Core™ i7-6567U Processor
18   Intel® Core™ i7-8809G Processor with
            Radeon™ RX Vega M GH graphics                   Intel® Core™ i7-7740X X-series Processor
19
     Intel® Core™ i7-8709G Processor with                   Intel® Core™ i5-7640X X-series Processor
20          Radeon™ RX Vega M GH graphics
                                                            Intel® Core™ i7-6950X Processor Extreme
21   Intel® Core™ i7-8705G Processor with                          Edition
            Radeon™ RX Vega M GL graphics
22                                                          Intel® Core™ i7-6900K Processor
     Intel® Core™ i5-8305G Processor with
23                                                          Intel® Core™ i7-6850K Processor
            Radeon™ RX Vega M GL graphics
24
     Intel Atom® x7-E3950 Processor                         Intel® Core™ i7-6800K Processor
25
     Intel Atom® x5-E3940 Processor                         Intel® Core™ i7-6785R Processor
26
     Intel Atom® x5-E3930 Processor                         Intel® Core™ i5-6685R Processor
27
     Intel® Core™ i7-6560U Processor                        Intel® Core™ i5-6585R Processor
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                  6
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 1   Intel® Core™ i5-6402P Processor               Intel® Core™ i5-8200Y Processor
 2   Intel® Core™ i3-6098P Processor               Intel® Core™ i3-8145U Processor
 3   Intel® Core™ i7-6700K Processor               Intel® Core™ m3-8100Y Processor
 4
     Intel® Core™ i5-6600K Processor               Intel® Core™ i7-8706G Processor with
 5                                                        Radeon™ Pro WX Vega M GL
     Intel® Core™ i7-5775R Processor                      graphics
 6
     Intel® Core™ i5-5675R Processor               Intel® Core™ i5-8305G Processor with
 7                                                        Radeon™ Pro WX Vega M GL
     Intel® Core™ i5-5575R Processor                      graphics
 8
     Intel® Pentium® Processor N3700               Intel® Xeon® E-2186G Processor
 9
     Intel® Celeron® Processor N3050               Intel® Xeon® E-2176G Processor
10
     Intel® Celeron® Processor N3150               Intel® Xeon® E-2174G Processor
11

12   Intel® Core™ i9-9980XE Extreme Edition        Intel® Xeon® E-2146G Processor
            Processor
13                                                 Intel® Xeon® E-2144G Processor
     Intel® Core™ i9-9960X X-series Processor
14                                                 Intel® Xeon® E-2136 Processor
     Intel® Core™ i9-9940X X-series Processor
15                                                 Intel® Xeon® E-2134 Processor
     Intel® Core™ i9-9920X X-series Processor
16                                                 Intel® Xeon® E-2126G Processor
     Intel® Core™ i9-9900X X-series Processor
17
                                                   Intel® Xeon® E-2124 Processor
     Intel® Core™ i9-9820X X-series Processor
18
                                                   Intel® Xeon® E-2124G Processor
19   Intel® Core™ i7-9800X X-series Processor
                                                   Intel® Core™ i3-8100H Processor
20   Intel® Core™ i9-9900K Processor
                                                   Intel® Core™ i7-8086K Processor
21   Intel® Core™ i7-9700K Processor
                                                   Intel® Xeon® Gold 6138P Processor
22   Intel® Core™ i5-9600K Processor
                                                   Intel® Core™ i9-8950HK Processor
23   Intel® Core™ i5-8210Y Processor
24                                                 Intel® Core™ i7-8850H Processor
     Intel Atom® Processor C3336
25                                                 Intel® Core™ i7-8750H Processor
     Intel® Core™ i7-8565U Processor
26                                                 Intel® Core™ i7-8700T Processor
     Intel® Core™ i7-8500Y Processor
27                                                 Intel® Core™ i7-8700B Processor
     Intel® Core™ i5-8265U Processor
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                       7
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 1   Intel® Core™ i7+8700 Processor (12M           Intel® Pentium® Gold G5400 Processor
            Cache, up to 4.60 GHz) includes
 2          Intel® Optane™ Memory                  Intel® Celeron® G4920 Processor
 3
     Intel® Core™ i7-8559U Processor               Intel® Celeron® G4900T Processor
 4
     Intel® Core™ i5-8600T Processor               Intel® Celeron® G4900 Processor
 5
     Intel® Core™ i5-8600 Processor                Intel® Xeon® E-2186M Processor
 6
     Intel® Core™ i5-8500T Processor               Intel® Xeon® E-2176M Processor
 7
     Intel® Core™ i5-8500B Processor               Intel® Core™ i3-7020U Processor
 8
     Intel® Core™ i5-8500 Processor                Intel® Core™ i3-8130U Processor
 9
     Intel® Core™ i5+8500 Processor (9M            Intel® Xeon® D-2187NT Processor
10
            Cache, up to 4.10 GHz) includes
            Intel® Optane™ Memory                  Intel® Xeon® D-2183IT Processor
11

12   Intel® Core™ i5-8400T Processor               Intel® Xeon® D-2177NT Processor

13   Intel® Core™ i5-8400H Processor               Intel® Xeon® D-2173IT Processor

14   Intel® Core™ i5-8400B Processor               Intel® Xeon® D-2166NT Processor

15   Intel® Core™ i5+8400 Processor (9M            Intel® Xeon® D-2163IT Processor
            Cache, up to 4.00 GHz) includes
16                                                 Intel® Xeon® D-2161I Processor
            Intel® Optane™ Memory
17                                                 Intel® Xeon® D-2146NT Processor
     Intel® Core™ i5-8300H Processor
18                                                 Intel® Xeon® D-2145NT Processor
     Intel® Core™ i5-8269U Processor
19
     Intel® Core™ i5-8259U Processor               Intel® Xeon® D-2143IT Processor
20
     Intel® Core™ i3-8300 Processor                Intel® Xeon® D-2142IT Processor
21
     Intel® Core™ i3-8300T Processor               Intel® Xeon® D-2141I Processor
22
     Intel® Core™ i3-8109U Processor               Intel® Xeon® D-2123IT Processor
23
     Intel® Core™ i3-8100T Processor               Intel® Core™ i7-8706G Processor with
24                                                        Radeon™ RX Vega M GL graphics
25   Intel® Pentium® Gold G5600 Processor
                                                   Intel® Xeon Phi™ Processor 7295
26   Intel® Pentium® Gold G5500T Processor
                                                   Intel® Xeon Phi™ Processor 7285
27   Intel® Pentium® Gold G5500 Processor
                                                   Intel® Xeon Phi™ Processor 7235
28   Intel® Pentium® Gold G5400T Processor

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                       8
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 1   Intel® Pentium® Silver J5005 Processor        Intel Atom® Processor C3508
 2   Intel® Pentium® Silver N5000 Processor        Intel Atom® Processor C3538
 3   Intel® Celeron® J4105 Processor               Intel Atom® Processor C3558
 4
     Intel® Celeron® J4005 Processor               Intel Atom® Processor C3708
 5
     Intel® Celeron® N4100 Processor               Intel Atom® Processor C3750
 6
     Intel® Celeron® N4000 Processor               Intel Atom® Processor C3758
 7
     Intel® Xeon® W-2175 Processor                 Intel Atom® Processor C3808
 8
     Intel® Core™ i7-8700K Processor               Intel Atom® Processor C3850
 9
     Intel® Core™ i7-8700 Processor                Intel Atom® Processor C3858
10
     Intel® Core™ i5-8600K Processor               Intel Atom® Processor C3830
11

12   Intel® Core™ i5-8400 Processor                Intel Atom® Processor C3950

13   Intel® Core™ i3-8350K Processor               Intel Atom® Processor C3955

14   Intel® Core™ i3-8100 Processor                Intel Atom® Processor C3958

15   Intel® Xeon® W-2123 Processor                 Intel® Core™ i9-7920X X-series Processor
16   Intel® Xeon® W-2125 Processor                 Intel® Xeon® Processor D-1553N
17   Intel® Xeon® W-2133 Processor                 Intel® Xeon® Processor D-1543N
18   Intel® Xeon® W-2135 Processor                 Intel® Xeon® Processor D-1533N
19
     Intel® Xeon® W-2145 Processor                 Intel® Xeon® Processor D-1523N
20
     Intel® Xeon® W-2155 Processor                 Intel® Xeon® Processor D-1513N
21
     Intel® Xeon® W-2195 Processor                 Intel® Xeon® Platinum 8180 Processor
22
     Intel® Core™ i7-8650U Processor               Intel® Xeon® Platinum 8176F Processor
23
     Intel® Core™ i7-8550U Processor               Intel® Xeon® Platinum 8176 Processor
24
     Intel® Core™ i5-8350U Processor               Intel® Xeon® Platinum 8170 Processor
25

26   Intel® Core™ i5-8250U Processor               Intel® Xeon® Platinum 8168 Processor

27   Intel® Xeon® Processor E3-1285 v6             Intel® Xeon® Platinum 8164 Processor

28   Intel Atom® Processor C3308                   Intel® Xeon® Platinum 8160T Processor

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                        9
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 1   Intel® Xeon® Platinum 8160F Processor         Intel® Xeon® Gold 6126F Processor
 2   Intel® Xeon® Platinum 8160 Processor          Intel® Xeon® Gold 6126 Processor
 3   Intel® Xeon® Platinum 8158 Processor          Intel® Xeon® Gold 5122 Processor
 4
     Intel® Xeon® Platinum 8156 Processor          Intel® Xeon® Gold 5120T Processor
 5
     Intel® Xeon® Platinum 8153 Processor          Intel® Xeon® Gold 5120 Processor
 6
     Intel® Xeon® Gold 6154 Processor              Intel® Xeon® Gold 5119T Processor
 7
     Intel® Xeon® Gold 6152 Processor              Intel® Xeon® Gold 5118 Processor
 8
     Intel® Xeon® Gold 6150 Processor              Intel® Xeon® Gold 5115 Processor
 9
     Intel® Xeon® Gold 6148F Processor             Intel® Xeon® Silver 4116T Processor
10
     Intel® Xeon® Gold 6148 Processor              Intel® Xeon® Silver 4116 Processor
11

12   Intel® Xeon® Gold 6146 Processor              Intel® Xeon® Silver 4114T Processor

13   Intel® Xeon® Gold 6144 Processor              Intel® Xeon® Silver 4114 Processor

14   Intel® Xeon® Gold 6142F Processor             Intel® Xeon® Silver 4112 Processor

15   Intel® Xeon® Gold 6142 Processor              Intel® Xeon® Silver 4110 Processor
16   Intel® Xeon® Gold 6140 Processor              Intel® Xeon® Silver 4109T Processor
17   Intel® Xeon® Gold 6138T Processor             Intel® Xeon® Silver 4108 Processor
18   Intel® Xeon® Gold 6138F Processor             Intel® Xeon® Bronze 3106 Processor
19
     Intel® Xeon® Gold 6138 Processor              Intel® Xeon® Bronze 3104 Processor
20
     Intel® Xeon® Gold 6136 Processor              Intel® Pentium® Processor 4415Y
21
     Intel® Xeon® Gold 6134 Processor              Intel® Celeron® Processor 3965Y
22
     Intel® Xeon® Gold 6132 Processor              Intel® Xeon® Processor E3-1501L v6
23
     Intel® Xeon® Gold 6130T Processor             Intel® Xeon® Processor E3-1501M v6
24
     Intel® Xeon® Gold 6130F Processor             Intel® Core™ i3-7130U Processor
25

26   Intel® Xeon® Gold 6130 Processor              Intel® Core™ i9-7900X X-series Processor

27   Intel® Xeon® Gold 6128 Processor              Intel® Core™ i7-7820X X-series Processor

28   Intel® Xeon® Gold 6126T Processor             Intel® Core™ i7-7800X X-series Processor

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                      10
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 1   Intel® Core™ m3-7Y32 Processor                Intel® Core™ i5-7500T Processor
 2   Intel® Xeon® Processor E3-1280 v6             Intel® Core™ i5-7442EQ Processor
 3   Intel® Xeon® Processor E3-1275 v6             Intel® Core™ i5-7440HQ Processor
 4
     Intel® Xeon® Processor E3-1270 v6             Intel® Core™ i5-7440EQ Processor
 5
     Intel® Xeon® Processor E3-1245 v6             Intel® Core™ i5-7400T Processor
 6
     Intel® Xeon® Processor E3-1240 v6             Intel® Core™ i5-7400 Processor
 7
     Intel® Xeon® Processor E3-1230 v6             Intel® Core™ i5-7360U Processor
 8
     Intel® Xeon® Processor E3-1225 v6             Intel® Core™ i5-7300U Processor
 9
     Intel® Xeon® Processor E3-1220 v6             Intel® Core™ i5-7300HQ Processor
10
     Intel® Xeon® Processor E7-8894 v4             Intel® Core™ i5-7287U Processor
11

12   Intel® Core™ i7-7920HQ Processor              Intel® Core™ i5-7267U Processor

13   Intel® Core™ i7-7820HQ Processor              Intel® Core™ i5-7260U Processor

14   Intel® Core™ i7-7820HK Processor              Intel® Core™ i5-7Y57 Processor

15   Intel® Core™ i7-7820EQ Processor              Intel® Core™ i3-7350K Processor
16   Intel® Core™ i7-7700HQ Processor              Intel® Core™ i3-7320 Processor
17   Intel® Core™ i7-7700 Processor                Intel® Core™ i3-7300 Processor
18   Intel® Core™ i7-7700K Processor               Intel® Core™ i3-7300T Processor
19
     Intel® Core™ i7-7700T Processor               Intel® Core™ i3-7102E Processor
20
     Intel® Core™ i7-7660U Processor               Intel® Core™ i3-7101E Processor
21
     Intel® Core™ i7-7600U Processor               Intel® Core™ i3-7101TE Processor
22
     Intel® Core™ i7-7567U Processor               Intel® Core™ i3-7100T Processor
23
     Intel® Core™ i7-7560U Processor               Intel® Core™ i3-7100E Processor
24
     Intel® Core™ i5-7600K Processor               Intel® Core™ i3-7100 Processor
25

26   Intel® Core™ i5-7600T Processor               Intel® Core™ i3-7167U Processor

27   Intel® Core™ i5-7600 Processor                Intel® Core™ i3-7100H Processor

28   Intel® Core™ i5-7500 Processor                Intel® Pentium® Processor G4620

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 1   Intel® Pentium® Processor G4600T              Intel® Pentium® Processor N4200
 2   Intel® Pentium® Processor G4600               Intel® Celeron® Processor J3455
 3   Intel® Pentium® Processor G4560T              Intel® Celeron® Processor J3355
 4
     Intel® Pentium® Processor G4560               Intel® Celeron® Processor N3350
 5
     Intel® Pentium® Processor 4415U               Intel® Celeron® Processor N3450
 6
     Intel® Pentium® Processor 4410Y               Intel® Xeon® Processor E5-4669 v4
 7
     Intel® Celeron® Processor G3950               Intel® Xeon® Processor E5-4667 v4
 8
     Intel® Celeron® Processor G3930T              Intel® Xeon® Processor E5-4660 v4
 9
     Intel® Celeron® Processor G3930               Intel® Xeon® Processor E5-4655 v4
10
     Intel® Celeron® Processor 3965U               Intel® Xeon® Processor E5-4650 v4
11

12   Intel® Celeron® Processor 3865U               Intel® Xeon® Processor E5-4640 v4

13   Intel® Xeon® Processor E3-1535M v6            Intel® Xeon® Processor E5-4628L v4

14   Intel® Xeon® Processor E3-1505M v6            Intel® Xeon® Processor E5-4627 v4

15   Intel® Xeon® Processor E3-1505L v6            Intel® Xeon® Processor E5-4620 v4
16   Intel Atom® Processor C3338                   Intel® Xeon® Processor E5-4610 v4
17   Intel® Core™ i3-6006U Processor               Intel® Xeon Phi™ Processor 7290F
18   Intel® Xeon® Processor E5-2699A v4            Intel® Xeon Phi™ Processor 7290
19
     Intel® Xeon® Processor E5-2699R v4            Intel® Xeon Phi™ Processor 7250F
20
     Intel® Core™ i3-6157U Processor               Intel® Xeon Phi™ Processor 7250
21
     Intel® Core™ i7-7500U Processor               Intel® Xeon Phi™ Processor 7230F
22
     Intel® Core™ i7-7Y75 Processor                Intel® Xeon Phi™ Processor 7230
23
     Intel® Core™ i5-7200U Processor               Intel® Xeon Phi™ Processor 7210F
24
     Intel® Core™ i5-7Y54 Processor                Intel® Xeon Phi™ Processor 7210
25

26   Intel® Core™ i3-7100U Processor               Intel® Xeon® Processor E5-1680 v4

27   Intel® Core™ m3-7Y30 Processor                Intel® Xeon® Processor E5-1660 v4

28   Intel® Pentium® Processor J4205               Intel® Xeon® Processor E5-1650 v4

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 1   Intel® Xeon® Processor E5-1630 v4             Intel® Xeon® Processor E5-2695 v4
 2   Intel® Xeon® Processor E5-1620 v4             Intel® Xeon® Processor E5-2690 v4
 3   Intel® Xeon® Processor E7-8893 v4             Intel® Xeon® Processor E5-2687W v4
 4
     Intel® Xeon® Processor E7-8891 v4             Intel® Xeon® Processor E5-2683 v4
 5
     Intel® Xeon® Processor E7-8890 v4             Intel® Xeon® Processor E5-2680 v4
 6
     Intel® Xeon® Processor E7-8880 v4             Intel® Xeon® Processor E5-2667 v4
 7
     Intel® Xeon® Processor E7-8870 v4             Intel® Xeon® Processor E5-2660 v4
 8
     Intel® Xeon® Processor E7-8867 v4             Intel® Xeon® Processor E5-2658 v4
 9
     Intel® Xeon® Processor E7-8860 v4             Intel® Xeon® Processor E5-2650 v4
10
     Intel® Xeon® Processor E7-4850 v4             Intel® Xeon® Processor E5-2650L v4
11

12   Intel® Xeon® Processor E7-4830 v4             Intel® Xeon® Processor E5-2648L v4

13   Intel® Xeon® Processor E7-4820 v4             Intel® Xeon® Processor E5-2643 v4

14   Intel® Xeon® Processor E7-4809 v4             Intel® Xeon® Processor E5-2640 v4

15   Intel® Xeon® Processor E3-1585 v5             Intel® Xeon® Processor E5-2637 v4
16   Intel® Xeon® Processor E3-1585L v5            Intel® Xeon® Processor E5-2630 v4
17   Intel® Xeon® Processor E3-1578L v5            Intel® Xeon® Processor E5-2630L v4
18   Intel® Xeon® Processor E3-1565L v5            Intel® Xeon® Processor E5-2628L v4
19
     Intel® Xeon® Processor E3-1558L v5            Intel® Xeon® Processor E5-2623 v4
20
     Intel® Pentium® Processor D1519               Intel® Xeon® Processor E5-2620 v4
21
     Intel® Xeon® Processor D-1559                 Intel® Xeon® Processor E5-2618L v4
22
     Intel® Xeon® Processor D-1539                 Intel® Xeon® Processor E5-2609 v4
23
     Intel® Xeon® Processor D-1529                 Intel® Xeon® Processor E5-2608L v4
24
     Intel® Xeon® Processor E5-2699 v4             Intel® Xeon® Processor E5-2603 v4
25

26   Intel® Xeon® Processor E5-2698 v4             Intel® Core™ i7-6660U Processor

27   Intel® Xeon® Processor E5-2697 v4             Intel® Xeon® Processor D-1567

28   Intel® Xeon® Processor E5-2697A v4            Intel® Xeon® Processor D-1557

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 1   Intel® Xeon® Processor D-1577                 Intel® Celeron® Processor G3900
 2   Intel® Xeon® Processor D-1571                 Intel® Celeron® Processor 3955U
 3   Intel Atom® x7-Z8750 Processor                Intel® Celeron® Processor 3855U
 4
     Intel Atom® x5-Z8550 Processor                Intel® Pentium® Processor G4400TE
 5
     Intel Atom® x5-Z8350 Processor                Intel® Pentium® Processor D1517
 6
     Intel Atom® x5-Z8330 Processor                Intel® Pentium® Processor D1509
 7
     Intel® Core™ i7-6970HQ Processor              Intel® Pentium® Processor D1508
 8
     Intel® Core™ i7-6870HQ Processor              Intel® Pentium® Processor D1507
 9
     Intel® Core™ i7-6770HQ Processor              Intel® Xeon® Processor D-1548
10
     Intel® Core™ i5-6350HQ Processor              Intel® Xeon® Processor D-1541
11

12   Intel® Xeon® Processor E3-1575M v5            Intel® Xeon® Processor D-1537

13   Intel® Xeon® Processor E3-1545M v5            Intel® Xeon® Processor D-1531

14   Intel® Xeon® Processor E3-1515M v5            Intel® Xeon® Processor D-1528

15   Intel Atom® x5-E8000 Processor                Intel® Xeon® Processor D-1527
16   Intel® Pentium® Processor J3710               Intel® Xeon® Processor D-1521
17   Intel® Pentium® Processor N3710               Intel® Xeon® Processor D-1518
18   Intel® Celeron® Processor J3160               Intel® Xeon® Processor E3-1280 v5
19
     Intel® Celeron® Processor J3060               Intel® Xeon® Processor E3-1275 v5
20
     Intel® Celeron® Processor N3010               Intel® Xeon® Processor E3-1270 v5
21
     Intel® Celeron® Processor N3060               Intel® Xeon® Processor E3-1268L v5
22
     Intel® Celeron® Processor N3160               Intel® Xeon® Processor E3-1260L v5
23
     Intel® Celeron® Processor G3902E              Intel® Xeon® Processor E3-1245 v5
24
     Intel® Celeron® Processor G3900E              Intel® Xeon® Processor E3-1240L v5
25

26   Intel® Celeron® Processor G3920               Intel® Xeon® Processor E3-1240 v5

27   Intel® Celeron® Processor G3900TE             Intel® Xeon® Processor E3-1235L v5

28   Intel® Celeron® Processor G3900T              Intel® Xeon® Processor E3-1230 v5

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 1   Intel® Xeon® Processor E3-1225 v5             Intel® Core™ i5-6287U Processor
 2   Intel® Xeon® Processor E3-1220 v5             Intel® Core™ i3-6100H Processor
 3   Intel® Core™ i7-6822EQ Processor              Intel® Core™ i3-6100U Processor
 4
     Intel® Core™ i7-6820EQ Processor              Intel® Core™ i3-6167U Processor
 5
     Intel® Core™ i7-6700TE Processor              Intel® Core™ m7-6Y75 Processor
 6
     Intel® Core™ i5-6500TE Processor              Intel® Core™ m5-6Y57 Processor
 7
     Intel® Core™ i5-6440EQ Processor              Intel® Core™ m5-6Y54 Processor
 8
     Intel® Core™ i5-6442EQ Processor              Intel® Core™ m3-6Y30 Processor
 9
     Intel® Core™ i3-6100E Processor               Intel® Pentium® Processor 4405Y
10
     Intel® Core™ i3-6102E Processor               Intel® Pentium® Processor 4405U
11

12   Intel® Core™ i3-6100TE Processor              Intel® Xeon® Processor E3-1535M v5

13   Intel® Xeon® Processor E3-1505L v5            Intel® Xeon® Processor E3-1505M v5

14   Intel® Core™ i7-6920HQ Processor              Intel® Core™ i7-6700T Processor

15   Intel® Core™ i7-6820HQ Processor              Intel® Core™ i7-6700 Processor
16   Intel® Core™ i7-6820HK Processor              Intel® Core™ i5-6600 Processor
17   Intel® Core™ i7-6700HQ Processor              Intel® Core™ i5-6600T Processor
18   Intel® Core™ i7-6650U Processor               Intel® Core™ i5-6500 Processor
19
     Intel® Core™ i7-6600U Processor               Intel® Core™ i5-6500T Processor
20
     Intel® Core™ i7-6500U Processor               Intel® Core™ i5-6400 Processor
21
     Intel® Core™ i5-6440HQ Processor              Intel® Core™ i5-6400T Processor
22
     Intel® Core™ i5-6360U Processor               Intel® Core™ i3-6300 Processor
23
     Intel® Core™ i5-6300HQ Processor              Intel® Core™ i3-6300T Processor
24
     Intel® Core™ i5-6300U Processor               Intel® Core™ i3-6320 Processor
25

26   Intel® Core™ i5-6200U Processor               Intel® Core™ i3-6100 Processor

27   Intel® Core™ i5-6260U Processor               Intel® Core™ i3-6100T Processor

28   Intel® Core™ i5-6267U Processor               Intel® Pentium® Processor G4520

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 1   Intel® Pentium® Processor G4500T              Intel Atom® x7-Z8700 Processor
 2   Intel® Pentium® Processor G4500               Intel Atom® x5-Z8500 Processor
 3   Intel® Pentium® Processor G4400T              Intel Atom® x5-Z8300 Processor
 4
     Intel® Pentium® Processor G4400               Intel® Core™ i7-5650U Processor
 5
     Intel® Celeron® Processor 3765U               Intel® Core™ i7-5600U Processor
 6
     Intel® Celeron® Processor 3215U               Intel® Core™ i7-5557U Processor
 7
     Intel® Core™ i7-5950HQ Processor              Intel® Core™ i7-5550U Processor
 8
     Intel® Core™ i7-5850HQ Processor              Intel® Core™ i7-5500U Processor
 9
     Intel® Core™ i7-5850EQ Processor              Intel® Core™ i5-5350U Processor
10
     Intel® Core™ i7-5750HQ Processor              Intel® Core™ i5-5300U Processor
11

12   Intel® Core™ i7-5700EQ Processor              Intel® Core™ i5-5287U Processor

13   Intel® Core™ i7-5700HQ Processor              Intel® Core™ i5-5257U Processor

14   Intel® Core™ i7-5775C Processor               Intel® Core™ i5-5250U Processor

15   Intel® Core™ i5-5675C Processor               Intel® Core™ i5-5200U Processor
16   Intel® Core™ i5-5350H Processor               Intel® Core™ i3-5157U Processor
17   Intel® Xeon® Processor E3-1285L v4            Intel® Core™ i3-5010U Processor
18   Intel® Xeon® Processor E3-1285 v4             Intel® Core™ i3-5005U Processor
19
     Intel® Xeon® Processor E3-1278L v4            Intel® Pentium® Processor 3805U
20
     Intel® Xeon® Processor E3-1265L v4            Intel® Celeron® Processor 3755U
21
     Intel® Xeon® Processor E3-1258L v4            Intel® Celeron® Processor 3205U
22
     Intel® Core™ i3-5020U Processor               Intel® Core™ M-5Y71 Processor
23
     Intel® Core™ i3-5015U Processor               Intel® Core™ M-5Y51 Processor
24
     Intel® Pentium® Processor 3825U               Intel® Core™ M-5Y31 Processor
25

26   Intel® Celeron® Processor N3000               Intel® Core™ M-5Y10c Processor

27   Intel® Xeon® Processor D-1540                 Intel® Core™ M-5Y10 Processor

28   Intel® Xeon® Processor D-1520                 Intel® Core™ M-5Y70 Processor

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 1   Intel® Core™ M-5Y10a Processor
 2             Tela also identifies other Intel products including a device fabricated with Intel’s 14nm
 3
     microprocessors as “Accused Instrumentalities.” Tela accuses devices in at least the following
 4
     categories:
 5
                Intel NUC Mini PCs (https://www.intel.com/content/www/us/en/products/boards-
 6
                 kits/nuc/mini-pcs.html, last visited Jan. 2, 2019)
 7

 8              Intel NUC Kits (https://www.intel.com/content/www/us/en/products/boards-

 9               kits/nuc/kits.html, last visited Jan. 2, 2019)
10
                Intel NUC Boards (https://www.intel.com/content/www/us/en/products/boards-
11
                 kits/nuc/boards.html, last visited Jan. 2, 2019)
12
                Intel Mobile Chipsets
13

14               (https://www.intel.com/content/www/us/en/products/chipsets/mobile-chipsets.html, last

15               visited Jan. 2, 2019)

16              Intel Desktop Chipsets
17               (https://www.intel.com/content/www/us/en/products/chipsets/desktop-chipsets.html, last
18
                 visited Jan. 2, 2019)
19
                Intel Server Chipsets
20
                 (https://www.intel.com/content/www/us/en/products/chipsets/server-chipsets.html, last
21

22               visited Jan. 2, 2019)

23              Intel Stratix 10 FPGAs
24               (https://www.intel.com/content/www/us/en/products/programmable/fpga/stratix-
25
                 10.html, last visited Jan. 2, 2019)
26
               From public information, the model numbers of the products including a device fabricated
27
     with Intel’s 14nm Processors include at least the following:
28

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 1   NUC 8 Home NUC8i5BEKPA                        NUC Kit NUC8i7HNK
 2   NUC 8 Home Mini PC – NUC8i3CYSN               NUC Kit NUC8i7HVK
 3   NUC 8 Home Mini PC – NUC8i3CYSM               NUC Kit NUC7PJYH
 4
     NUC 8 Businesss Mini PC –                     NUC Kit NUC7CJYH
 5         NUC8i7HNKQC
                                                   NUC Kit NUC7i7DNKE
 6   NUC 8 Enthusiast Mini PC –
           NUC8i7HVKVA                             NUC Kit NUC7k7DNHE
 7
     NUC 7 Business Mini PC – NUC7i3SNHNC          NUC Kit NUC7i3DNKE
 8
     NUC 7 Business Mini PC – NUCi5DNKPC           NUC Kit NUC7i5DNKE
 9
     NUC7 Business Mini PC – NUC7i3DNKTC           NUC Kit NUC7i5DNHE
10

11   NUC 7 Essential Mini PC – NUC7CJYSAL          NUC Kit NUC7i3DNHE

12   NUC 7 Enthusiast MINI PC –                    NUC Kit NUC7i7BJHX1
           NUC7i7BNKQ
13                                                 NUC Kit NUC7i5BNHX1
     NUC 7 Home Mini PC – NUC7i5BNKP
14                                                 NUC Kit NUC7i3BNHX1
     NUC 7 Home Mini PC – NUC7i3BNHXF
15                                                 NUC Kit NUC7i5BNK
     NUC 7 Enthusiast Mini PC –
16         NYC7i7BNHXG                             NUC Kit NUC7i7BNH
17                                                 NUC Kit NUC7i3BNH
     NUC 7 Home Mini PC – NUC7i5BNHXF
18                                                 NUC Kit NUC7i5BNH
     NUC Kit NUC6CAYS
19
     NUC Kit NUC5i3RYHSN                           NUC Kit NUC7i3BNK
20
     NUC Kit NUC5i3RYHS                            NUC Kit NUC6CAYH
21
     NUC Kit NUC8i5BEH                             NUC Kit NUC6i7KYK
22
     NUC Kit NUC8i5BEK                             NUC Kit NUC5CPYH
23
     NUC Kit NUC8i7BEH                             NUC Kit NUC5i3MYHE
24
     NUC Kit NUC8i5BEK                             NUC Kit NUC5i5MYHE
25

26   NUC Kit NUC 8i7BEH                            NUC Board NUC7i7DNBE

27   NUC Kit NUC8i3BEH                             NUC Board NUC7i3DNBE

28   NUC Kit NUC8i3BEK                             NUC Board NUC7i5DNBE

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 1   NUC Board NUC5i5MYBE                          H170 Chipset
 2   NUC Board NUC5i3MYBE                          B150 Chipset
 3   NUC Board DE3815TYBE                          Z170 Chipset
 4
     CM246 Chipset                                 X99 Chipset
 5
     HM370 Chipset                                 C242 Chipset
 6
     QM370 Chipset                                 C246 Chipset
 7
     HM175 Chipset                                 C624 Chipset
 8
     CM238 Chipset                                 C622 Chipset
 9
     QM175 Chipset                                 C626 Chipset
10
     CM236 Chipset                                 C621 Chipset
11

12   QM170 Chipset                                 C628 Chipset

13   HM170 Chipset                                 C627 Chipset

14   Z390 Chipset                                  C625 Chipset

15   H310 Chipset                                  C232 Chipset
16   B360 Chipset                                  C236 Chipset
17   Q370 Chipset                                  C612 Chipset
18   H370 Chipset                                  C224 Chipset
19
     Z370 Chipset                                  C222 Chipset
20
     X299 Chipset                                  C226 Chipset
21
     H270 Chipset                                  C216 Chipset
22
     Q250 Chipset                                  C602J Chipset
23
     B250 Chipset                                  C608 Chipset
24
     Q270 Chipset                                  C606 Chipset
25

26   Z270 Chipset                                  C206 Chipset

27   Q150 Chipset                                  C204 Chipset

28   Q170 Chipset                                  C202 Chipset

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 1   Stratix 10 GX FPGAs                                     Stratix 10 TX FPGAs
 2   Stratix 10 SX SoC FPGAs                                 Stratix 10 MX FPGAs
 3           Tela reserves the right to supplement the above lists as discovery proceeds.
 4
             All of Intel’s 14nm microprocessors and other devices fabricated using Intel’s 14nm
 5
     process node, including those listed above, infringe in substantially the same manner. Tela has not
 6
     yet received discovery from Intel on its 14nm process and thus reserves the right to supplement
 7

 8   these contentions to show that the device charted in Appendices A-E is representative of the other

 9   14nm Accused Instrumentalities. Discovery, such as Intel’s layout files – including both standard

10   cell libraries and chip-level layouts – design rules, and process flows will show that the device
11   charted in Appendices A-E is representative of the other 14nm Accused Instrumentalities listed
12
     above. These sources are not publicly available. In fact, Intel has submitted declarations stating,
13
     “Intel takes numerous steps to safeguard confidential information relating to its technology and
14
     business operations. The hardware layout specifications and design rules [] receive the highest
15

16   level of protection and security within Intel . . . .” (D. I. 85-1 at ¶ 8.) Intel continued, “these

17   materials are maintained on a secure network within Intel secure facilities. That secure network is

18   monitored by a system administrator who carefully controls access and provides it individually, on
19
     a need to know basis, to select employees who have received the appropriate clearance.” (Id. at ¶
20
     9.) Given these admissions from Intel, along with its outright refusal to produce any discovery
21
     about its products up to this point, Tela reserves the right to supplement these contentions to show
22
     that the charted 14nm microprocessor is representative of the remaining 14nm Accused
23

24   Instrumentalities.

25           But, even without the information Intel is withholding as of the date of these contentions,
26   as stated in Intel’s First Amended Complaint, “Intel’s accused 22nm and 14nm products use the
27
     same conductive structures in the gate layer as Intel’s 45nm products[.]” (D. I. 38 at 53.) Thus,
28

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 1   according to Intel at least the gate structures in all of the 14nm Accused Instrumentalities
 2   identified above are the same. Intel’s documents further show that the 14nm device charted in
 3
     Appendices A-E is representative of all 14nm Accused Instrumentalities. For example, Intel’s
 4
     website groups together its 14nm devices. Intel 14nm Technology, Intel Corp., available at
 5
     https://www.intel.com/content/www/us/en/silicon-innovations/intel-14nm-technology.html (last
 6

 7   visited Jan. 3, 2019). The product pages for each of the 14nm Accused Instrumentalities listed

 8   above also consistently describe the devices as being fabricated with 14nm lithography, without

 9   distinction. TELADJ00107387-TELADJ00111624.
10             From public information, it appears that Intel has at least three 14nm processes: 14nm,
11
     14+, and 14++. Intel’s 14nm Technology: Delivering Ultrafast, Energy-Sipping Products, Intel
12
     Corp., 2017, available at https://en.wikichip.org/w/images/f/ff/14-nm-technology-fact-sheet.pdf
13
     (last visited Jan. 3, 2019). According to Intel, the 14+ and 14++ processors are “optimization[s]”
14

15   of its 14nm process. Id. at 4. Pending further discovery from and on information and belief, each

16   of Intel’s 14, 14+, and 14++ nm products practice at least one of the asserted claims.

17             B.       Intel’s 22nm Accused Instrumentalities
18             Pursuant to Patent L. R. 3-1(b), below is a list of specific names or model numbers for
19
     Intel’s 22nm Processors reasonably available from public information, including Intel’s United
20
     States website (Intel.com). Tela reserves the right to supplement the below list when Intel
21
     provides discovery related to the Accused Instrumentalities.
22

23                 Ivy Bridge

24                 Avoton
25                 Haswell
26
                   Ivytown
27
                   Knights Corner
28

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 1              Merrifield
 2
                Silvermont
 3
                Valleyview
 4
                Intel Atom Processors
 5

 6               (https://www.intel.com/content/www/us/en/products/processors/atom/e-series.html, last

 7               visited Jan. 2, 2019)

 8             From public information, the model numbers for Processors fabricated using Intel’s 22nm
 9   Processor include at least the following:
10
                                                           Intel® Xeon® Processor E7-8880 v3
11   Intel Atom® Processor C2316
                                                           Intel® Xeon® Processor E7-8870 v3
12   Intel® Pentium® Processor A1020
                                                           Intel® Xeon® Processor E7-8867 v3
13   Intel Atom® Processor Z3590
                                                           Intel® Xeon® Processor E7-8860 v3
14   Intel® Xeon® Processor E5-4669 v3
                                                           Intel® Xeon® Processor E7-4850 v3
15   Intel® Xeon® Processor E5-4667 v3
16                                                         Intel® Xeon® Processor E7-4830 v3
     Intel® Xeon® Processor E5-4660 v3
17                                                         Intel® Xeon® Processor E7-4820 v3
     Intel® Xeon® Processor E5-4655 v3
18                                                         Intel® Xeon® Processor E7-4809 v3
     Intel® Xeon® Processor E5-4650 v3
19                                                         Intel® Core™ i3-4370T Processor
     Intel® Xeon® Processor E5-4648 v3
20                                                         Intel® Core™ i3-4170T Processor
     Intel® Xeon® Processor E5-4640 v3
21                                                         Intel® Core™ i3-4170 Processor
     Intel® Xeon® Processor E5-4627 v3
22                                                         Intel® Pentium® Processor G3470
     Intel® Xeon® Processor E5-4620 v3
23
                                                           Intel® Pentium® Processor G3460T
24   Intel® Xeon® Processor E5-4610 v3
                                                           Intel® Pentium® Processor G3260
25   Intel® Xeon® Processor E7-8893 v3
                                                           Intel® Pentium® Processor G3260T
26   Intel® Xeon® Processor E7-8891 v3
                                                           Intel® Xeon® Processor E5-2658A v3
27   Intel® Xeon® Processor E7-8890 v3
                                                           Intel® Core™ i7-4720HQ Processor
28   Intel® Xeon® Processor E7-8880L v3

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 1   Intel® Core™ i7-4722HQ Processor              Intel® Xeon® Processor E5-2650 v3
 2   Intel® Xeon® Processor E5-2438L v3            Intel® Xeon® Processor E5-2648L v3
 3   Intel® Xeon® Processor E5-1428L v3            Intel® Xeon® Processor E5-2643 v3
 4
     Intel® Xeon® Processor E5-2428L v3            Intel® Xeon® Processor E5-2640 v3
 5
     Intel® Xeon® Processor E5-2418L v3            Intel® Xeon® Processor E5-2637 v3
 6
     Intel® Xeon® Processor E5-2408L v3            Intel® Xeon® Processor E5-2630L v3
 7
     Intel Atom® Processor Z3570                   Intel® Xeon® Processor E5-2630 v3
 8
     Intel Atom® Processor E3805                   Intel® Xeon® Processor E5-2628L v3
 9
     Intel® Xeon® Processor E5-2699 v3             Intel® Xeon® Processor E5-2623 v3
10
     Intel® Xeon® Processor E5-1620 v3             Intel® Xeon® Processor E5-2620 v3
11

12   Intel® Xeon® Processor E5-1630 v3             Intel® Xeon® Processor E5-2618L v3

13   Intel® Xeon® Processor E5-2698 v3             Intel® Xeon® Processor E5-2609 v3

14   Intel® Xeon® Processor E5-2697 v3             Intel® Xeon® Processor E5-2608L v3

15   Intel® Xeon® Processor E5-1650 v3             Intel® Xeon® Processor E5-2603 v3
16   Intel® Xeon® Processor E5-1660 v3             Intel® Core™ i7-5960X Processor Extreme
                                                          Edition
17   Intel® Xeon® Processor E5-1680 v3
                                                   Intel® Core™ i7-5930K Processor
18   Intel® Xeon® Processor E5-2695 v3
19                                                 Intel® Core™ i7-5820K Processor
     Intel® Xeon® Processor E5-2690 v3
20                                                 Intel® Core™ i7-4980HQ Processor
     Intel® Xeon® Processor E5-2687W v3
21                                                 Intel® Core™ i7-4870HQ Processor
     Intel® Xeon® Processor E5-2683 v3
22                                                 Intel® Core™ i7-4770HQ Processor
     Intel® Xeon® Processor E5-2680 v3
23                                                 Intel® Core™ i7-4578U Processor
     Intel® Xeon® Processor E5-2670 v3
24                                                 Intel® Core™ i5-4308U Processor
     Intel® Xeon® Processor E5-2667 v3
25
                                                   Intel® Core™ i5-4210H Processor
26   Intel® Xeon® Processor E5-2660 v3
                                                   Intel® Core™ i5-4278U Processor
27   Intel® Xeon® Processor E5-2658 v3
                                                   Intel® Core™ i3-4360T Processor
28   Intel® Xeon® Processor E5-2650L v3

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 1   Intel® Core™ i3-4370 Processor                Intel® Core™ i5-4690T Processor
 2   Intel® Core™ i3-4160T Processor               Intel® Core™ i5-4590 Processor
 3   Intel® Core™ i3-4160 Processor                Intel® Core™ i5-4590S Processor
 4
     Intel® Pentium® Processor G3460               Intel® Core™ i5-4590T Processor
 5
     Intel® Pentium® Processor G3450T              Intel® Core™ i5-4460T Processor
 6
     Intel® Pentium® Processor G3250T              Intel® Core™ i5-4460S Processor
 7
     Intel® Pentium® Processor G3250               Intel® Core™ i5-4460 Processor
 8
     Intel® Pentium® Processor N3540               Intel® Core™ i3-4340TE Processor
 9
     Intel® Celeron® Processor N2940               Intel® Core™ i3-4350 Processor
10
     Intel® Celeron® Processor N2840               Intel® Core™ i3-4350T Processor
11

12   Intel® Celeron® Processor N2808               Intel® Core™ i3-4360 Processor

13   Intel Atom® Processor Z3736G                  Intel® Core™ i3-4150T Processor

14   Intel Atom® Processor Z3736F                  Intel® Core™ i3-4150 Processor

15   Intel Atom® Processor Z3530                   Intel® Pentium® Processor G3450
16   Intel® Core™ i7-4790K Processor               Intel® Pentium® Processor G3440T
17   Intel® Core™ i5-4690K Processor               Intel® Pentium® Processor G3440
18   Intel® Pentium® Processor G3258               Intel® Pentium® Processor G3240T
19
     Intel Atom® Processor Z3785                   Intel® Pentium® Processor G3240
20
     Intel Atom® Processor Z3580                   Intel® Celeron® Processor G1850
21
     Intel Atom® Processor Z3560                   Intel® Celeron® Processor G1840T
22
     Intel® Core™ i7-4785T Processor               Intel® Celeron® Processor G1840
23
     Intel® Core™ i7-4790 Processor                Intel® Xeon® Processor E3-1286L v3
24
     Intel® Core™ i7-4790S Processor               Intel® Xeon® Processor E3-1286 v3
25

26   Intel® Core™ i7-4790T Processor               Intel® Xeon® Processor E3-1281 v3

27   Intel® Core™ i5-4690 Processor                Intel® Xeon® Processor E3-1276 v3

28   Intel® Core™ i5-4690S Processor               Intel® Xeon® Processor E3-1271 v3

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 1   Intel® Xeon® Processor E3-1246 v3             Intel® Xeon Phi™ Coprocessor 7120A
 2   Intel® Xeon® Processor E3-1241 v3             Intel® Core™ i7-4700EC Processor
 3   Intel® Xeon® Processor E3-1240L v3            Intel® Core™ i7-4702EC Processor
 4
     Intel® Xeon® Processor E3-1231 v3             Intel® Core™ i5-4402EC Processor
 5
     Intel® Xeon® Processor E3-1226 v3             Intel Atom® Processor C2508
 6
     Intel® Core™ i7-4710HQ Processor              Intel Atom® Processor C2308
 7
     Intel® Core™ i7-4710MQ Processor              Intel Atom® Processor Z3735G
 8
     Intel® Core™ i7-4712HQ Processor              Intel Atom® Processor Z3735F
 9
     Intel® Core™ i7-4712MQ Processor              Intel® Xeon Phi™ Coprocessor 7120D
10
     Intel® Core™ i7-4760HQ Processor              Intel Atom® Processor Z3480
11

12   Intel® Core™ i7-4510U Processor               Intel Atom® Processor Z3460

13   Intel® Core™ i5-4422E Processor               Intel® Xeon® Processor E5-4603 v2

14   Intel® Core™ i5-4410E Processor               Intel® Xeon® Processor E5-4607 v2

15   Intel® Core™ i5-4210M Processor               Intel® Xeon® Processor E5-4610 v2
16   Intel® Core™ i5-4210U Processor               Intel® Xeon® Processor E5-4620 v2
17   Intel® Core™ i5-4220Y Processor               Intel® Xeon® Processor E5-4624L v2
18   Intel® Core™ i5-4260U Processor               Intel® Xeon® Processor E5-4627 v2
19
     Intel® Core™ i3-4110E Processor               Intel® Xeon® Processor E5-4640 v2
20
     Intel® Core™ i3-4110M Processor               Intel® Xeon® Processor E5-4650 v2
21
     Intel® Core™ i3-4112E Processor               Intel® Xeon® Processor E5-4657L v2
22
     Intel® Core™ i3-4120U Processor               Intel® Celeron® Processor N2807
23
     Intel® Core™ i3-4025U Processor               Intel® Xeon® Processor E7-8850 v2
24
     Intel® Core™ i3-4030U Processor               Intel® Xeon® Processor E7-8857 v2
25

26   Intel® Core™ i3-4030Y Processor               Intel® Xeon® Processor E7-8870 v2

27   Intel® Pentium® Processor 3560M               Intel® Xeon® Processor E7-8880 v2

28   Intel® Celeron® Processor 2970M               Intel® Xeon® Processor E7-8880L v2

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 1   Intel® Xeon® Processor E7-8890 v2             Intel® Core™ i7-4940MX Processor
                                                          Extreme Edition
 2   Intel® Xeon® Processor E7-8891 v2
                                                   Intel® Core™ i7-4910MQ Processor
 3   Intel® Xeon® Processor E7-8893 v2
 4                                                 Intel® Core™ i7-4810MQ Processor
     Intel® Xeon® Processor E7-4890 v2
 5                                                 Intel® Core™ i7-4860HQ Processor
     Intel® Xeon® Processor E7-4880 v2
 6                                                 Intel® Core™ i7-4610M Processor
     Intel® Xeon® Processor E7-4870 v2
 7                                                 Intel® Core™ i5-4310M Processor
     Intel® Xeon® Processor E7-4860 v2
 8                                                 Intel® Core™ i5-4310U Processor
     Intel® Xeon® Processor E7-4850 v2
 9                                                 Intel® Core™ i5-4340M Processor
     Intel® Xeon® Processor E7-4830 v2
10                                                 Intel® Core™ i5-4360U Processor
     Intel® Xeon® Processor E7-4820 v2
11
                                                   Intel® Pentium® Processor 1405 v2
12   Intel® Xeon® Processor E7-4809 v2
                                                   Intel® Xeon® Processor E5-2403 v2
13   Intel® Xeon® Processor E7-2890 v2
                                                   Intel® Xeon® Processor E5-1428L v2
14   Intel® Xeon® Processor E7-2880 v2
                                                   Intel® Xeon® Processor E5-2407 v2
15   Intel® Xeon® Processor E7-2870 v2
                                                   Intel® Xeon® Processor E5-2418L v2
16   Intel® Xeon® Processor E7-2850 v2
                                                   Intel® Xeon® Processor E5-2420 v2
17   Intel Atom® Processor Z3735D
                                                   Intel® Xeon® Processor E5-2428L v2
18   Intel® Pentium® Processor N3530
19                                                 Intel® Xeon® Processor E5-2430 v2
     Intel® Celeron® Processor N2930
20                                                 Intel® Xeon® Processor E5-2430L v2
     Intel® Celeron® Processor N2830
21                                                 Intel® Xeon® Processor E5-2440 v2
     Intel Atom® Processor Z3795
22                                                 Intel® Xeon® Processor E5-2448L v2
     Intel Atom® Processor Z3775D
23                                                 Intel® Xeon® Processor E5-2450 v2
     Intel Atom® Processor Z3735E
24                                                 Intel® Xeon® Processor E5-2450L v2
     Intel Atom® Processor Z3775
25
                                                   Intel® Xeon® Processor E5-2470 v2
26   Intel Atom® Processor Z3745D
                                                   Intel® Celeron® Processor G1820TE
27   Intel Atom® Processor Z3745
                                                   Intel® Celeron® Processor 2002E
28

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 1   Intel® Celeron® Processor 2000E               Intel® Celeron® Processor N2910
 2   Intel® Celeron® Processor G1830               Intel® Celeron® Processor N2810
 3   Intel® Celeron® Processor G1820T              Intel® Celeron® Processor N2805
 4
     Intel® Celeron® Processor G1820               Intel Atom® Processor Z3770D
 5
     Intel® Pentium® Processor 3558U               Intel Atom® Processor Z3770
 6
     Intel® Pentium® Processor 3561Y               Intel Atom® Processor Z3740D
 7
     Intel® Celeron® Processor 2981U               Intel Atom® Processor Z3740
 8
     Intel® Celeron® Processor 2961Y               Intel® Core™ i7-4960X Processor Extreme
 9                                                        Edition
     Intel® Celeron® Processor 2957U
10                                                 Intel® Core™ i7-4930K Processor
     Intel® Pentium® Processor J2900
11
                                                   Intel® Core™ i7-4820K Processor
12   Intel® Celeron® Processor J1900
                                                   Intel® Core™ i3-3115C Processor
13   Intel® Celeron® Processor J1800
                                                   Intel® Xeon® Processor E5-2603 v2
14   Intel® Pentium® Processor N3520
                                                   Intel® Xeon® Processor E5-1620 v2
15   Intel® Celeron® Processor N2920
                                                   Intel® Xeon® Processor E5-2609 v2
16   Intel® Celeron® Processor N2820
                                                   Intel® Xeon® Processor E5-1650 v2
17   Intel® Celeron® Processor N2815
                                                   Intel® Xeon® Processor E5-2618L v2
18   Intel® Celeron® Processor N2806
19                                                 Intel® Xeon® Processor E5-2620 v2
     Intel Atom® Processor E3845
20                                                 Intel® Xeon® Processor E5-1660 v2
     Intel Atom® Processor E3827
21                                                 Intel® Xeon® Processor E5-2628L v2
     Intel Atom® Processor E3826
22                                                 Intel® Xeon® Processor E5-2630 v2
     Intel Atom® Processor E3825
23                                                 Intel® Xeon® Processor E5-2630L v2
     Intel Atom® Processor E3815
24                                                 Intel® Xeon® Processor E5-2637 v2
     Intel® Pentium® Processor J2850
25
                                                   Intel® Xeon® Processor E5-2640 v2
26   Intel® Pentium® Processor N3510
                                                   Intel® Xeon® Processor E5-2643 v2
27   Intel® Celeron® Processor J1850
                                                   Intel® Xeon® Processor E5-2648L v2
28   Intel® Celeron® Processor J1750

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 1   Intel® Xeon® Processor E5-2650 v2             Intel® Core™ i7-4960HQ Processor
 2   Intel® Xeon® Processor E5-2650L v2            Intel® Core™ i7-4771 Processor
 3   Intel® Xeon® Processor E5-2658 v2             Intel® Core™ i7-4600M Processor
 4
     Intel® Xeon® Processor E5-2660 v2             Intel® Core™ i7-4600U Processor
 5
     Intel® Xeon® Processor E5-2667 v2             Intel® Core™ i7-4610Y Processor
 6
     Intel® Xeon® Processor E5-2670 v2             Intel® Core™ i5-4402E Processor
 7
     Intel® Xeon® Processor E5-2680 v2             Intel® Core™ i5-4400E Processor
 8
     Intel® Xeon® Processor E5-2687W v2            Intel® Core™ i5-4440S Processor
 9
     Intel® Xeon® Processor E5-2690 v2             Intel® Core™ i5-4440 Processor
10
     Intel® Xeon® Processor E5-2695 v2             Intel® Core™ i5-4300M Processor
11

12   Intel® Xeon® Processor E5-2697 v2             Intel® Core™ i5-4300U Processor

13   Intel® Xeon® Processor E3-1125C v2            Intel® Core™ i5-4300Y Processor

14   Intel® Xeon® Processor E3-1105C v2            Intel® Core™ i5-4302Y Processor

15   Intel Atom® Processor C2758                   Intel® Core™ i5-4330M Processor
16   Intel Atom® Processor C2738                   Intel® Core™ i5-4200H Processor
17   Intel Atom® Processor C2718                   Intel® Core™ i5-4200M Processor
18   Intel Atom® Processor C2558                   Intel® Core™ i5-4202Y Processor
19
     Intel Atom® Processor C2538                   Intel® Core™ i5-4210Y Processor
20
     Intel Atom® Processor C2518                   Intel® Core™ i3-4330 Processor
21
     Intel Atom® Processor C2358                   Intel® Core™ i3-4330T Processor
22
     Intel Atom® Processor C2338                   Intel® Core™ i3-4330TE Processor
23
     Intel Atom® Processor C2750                   Intel® Core™ i3-4340 Processor
24
     Intel Atom® Processor C2730                   Intel® Core™ i3-4100E Processor
25

26   Intel Atom® Processor C2550                   Intel® Core™ i3-4100M Processor

27   Intel Atom® Processor C2530                   Intel® Core™ i3-4102E Processor

28   Intel Atom® Processor C2350                   Intel® Core™ i3-4130T Processor

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 1   Intel® Core™ i3-4130 Processor                Intel® Xeon Phi™ Coprocessor 3120A
 2   Intel® Core™ i3-4000M Processor               Intel® Xeon Phi™ Coprocessor 3120P
 3   Intel® Core™ i3-4005U Processor               Intel® Core™ i3-3250T Processor
 4
     Intel® Core™ i3-4012Y Processor               Intel® Core™ i3-3250 Processor
 5
     Intel® Core™ i3-4020Y Processor               Intel® Core™ i3-3245 Processor
 6
     Intel® Core™ i5-3340S Processor               Intel® Pentium® Processor G2140
 7
     Intel® Core™ i5-3340 Processor                Intel® Pentium® Processor G2120T
 8
     Intel® Pentium® Processor G3430               Intel® Pentium® Processor G2030T
 9
     Intel® Pentium® Processor G3420T              Intel® Pentium® Processor G2030
10
     Intel® Pentium® Processor G3420               Intel® Pentium® Processor 2127U
11

12   Intel® Pentium® Processor G3320TE             Intel® Celeron® Processor 1017U

13   Intel® Pentium® Processor G3220T              Intel® Celeron® Processor 1005M

14   Intel® Pentium® Processor G3220               Intel® Core™ i7-4950HQ Processor

15   Intel® Pentium® Processor 3550M               Intel® Core™ i7-4850HQ Processor
16   Intel® Pentium® Processor 3556U               Intel® Core™ i7-4750HQ Processor
17   Intel® Pentium® Processor 3560Y               Intel® Core™ i7-4770R Processor
18   Intel® Celeron® Processor G1630               Intel® Core™ i5-4670R Processor
19
     Intel® Celeron® Processor G1620T              Intel® Core™ i5-4570R Processor
20
     Intel® Celeron® Processor 2980U               Intel® Core™ i7-4650U Processor
21
     Intel® Celeron® Processor 2955U               Intel® Core™ i7-4500U Processor
22
     Intel® Celeron® Processor 2950M               Intel® Core™ i7-4550U Processor
23
     Intel® Xeon® Processor E3-1220L v3            Intel® Core™ i7-4558U Processor
24
     Intel® Pentium® Processor A1018               Intel® Core™ i5-4350U Processor
25

26   Intel® Xeon Phi™ Coprocessor 7120P            Intel® Core™ i5-4200U Processor

27   Intel® Xeon Phi™ Coprocessor 7120X            Intel® Core™ i5-4200Y Processor

28   Intel® Xeon Phi™ Coprocessor 5120D            Intel® Core™ i5-4250U Processor

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 1   Intel® Core™ i5-4258U Processor               Intel® Xeon® Processor E3-1275 v3
 2   Intel® Core™ i5-4288U Processor               Intel® Xeon® Processor E3-1265L v3
 3   Intel® Core™ i3-4100U Processor               Intel® Xeon® Processor E3-1245 v3
 4
     Intel® Core™ i3-4158U Processor               Intel® Xeon® Processor E3-1240 v3
 5
     Intel® Core™ i3-4010U Processor               Intel® Xeon® Processor E3-1230L v3
 6
     Intel® Core™ i3-4010Y Processor               Intel® Xeon® Processor E3-1230 v3
 7
     Intel® Core™ i7-4770K Processor               Intel® Xeon® Processor E3-1225 v3
 8
     Intel® Core™ i7-4765T Processor               Intel® Xeon® Processor E3-1220 v3
 9
     Intel® Core™ i7-4770 Processor                Intel® Core™ i7-4930MX Processor
10                                                        Extreme Edition
     Intel® Core™ i7-4770S Processor
11
                                                   Intel® Core™ i7-4900MQ Processor
12   Intel® Core™ i7-4770T Processor
                                                   Intel® Core™ i7-4800MQ Processor
13   Intel® Core™ i7-4770TE Processor
                                                   Intel® Core™ i7-4700EQ Processor
14   Intel® Core™ i5-4670 Processor
                                                   Intel® Core™ i7-4700HQ Processor
15   Intel® Core™ i5-4670K Processor
                                                   Intel® Core™ i7-4702HQ Processor
16   Intel® Core™ i5-4670S Processor
                                                   Intel® Core™ i7-4702MQ Processor
17   Intel® Core™ i5-4670T Processor
                                                   Intel® Core™ i7-4700MQ Processor
18   Intel® Core™ i5-4570 Processor
19                                                 Intel® Core™ i5-4430 Processor
     Intel® Core™ i5-4570S Processor
20                                                 Intel® Celeron® Processor 1019Y
     Intel® Core™ i5-4570T Processor
21                                                 Intel® Core™ i7-3687U Processor
     Intel® Core™ i5-4570TE Processor
22                                                 Intel® Core™ i7-3540M Processor
     Intel® Core™ i5-4430S Processor
23                                                 Intel® Core™ i7-3537U Processor
     Intel® Xeon® Processor E3-1285L v3
24                                                 Intel® Core™ i5-3437U Processor
     Intel® Xeon® Processor E3-1285 v3
25
                                                   Intel® Core™ i5-3380M Processor
26   Intel® Xeon® Processor E3-1280 v3
                                                   Intel® Core™ i5-3340M Processor
27   Intel® Xeon® Processor E3-1270 v3
                                                   Intel® Core™ i5-3337U Processor
28   Intel® Xeon® Processor E3-1268L v3

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                     30
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 1   Intel® Core™ i5-3230M Processor               Intel® Core™ i7-3940XM Processor
                                                          Extreme Edition
 2   Intel® Core™ i5-3230M Processor
                                                   Intel® Core™ i7-3840QM Processor
 3   Intel® Core™ i3-3227U Processor
 4                                                 Intel® Core™ i7-3740QM Processor
     Intel® Core™ i3-3210 Processor
 5                                                 Intel® Core™ i7-3635QM Processor
     Intel® Core™ i3-3130M Processor
 6                                                 Intel® Core™ i7-3632QM Processor
     Intel® Pentium® Processor G2130
 7                                                 Intel® Core™ i7-3632QM Processor
     Intel® Pentium® Processor G2020T
 8                                                 Intel® Core™ i7-3630QM Processor
     Intel® Pentium® Processor G2020
 9                                                 Intel® Core™ i3-3120M Processor
     Intel® Pentium® Processor G2010
10                                                 Intel® Pentium® Processor 2117U
     Intel® Pentium® Processor 2030M
11
                                                   Intel® Pentium® Processor 2020M
12   Intel® Celeron® Processor G1620
                                                   Intel® Core™ i5-3350P Processor
13   Intel® Celeron® Processor G1610T
                                                   Intel® Core™ i5-3330S Processor
14   Intel® Celeron® Processor G1610
                                                   Intel® Core™ i5-3330 Processor
15   Intel® Celeron® Processor 1047UE
                                                   Intel® Core™ i3-3240T Processor
16   Intel® Celeron® Processor 1037U
                                                   Intel® Core™ i3-3240 Processor
17   Intel® Celeron® Processor 1020M
                                                   Intel® Core™ i3-3225 Processor
18   Intel® Celeron® Processor 1020E
19                                                 Intel® Core™ i3-3220T Processor
     Intel® Celeron® Processor 1007U
20                                                 Intel® Core™ i3-3220 Processor
     Intel® Celeron® Processor 1000M
21                                                 Intel® Pentium® Processor G2120
     Intel® Celeron® Processor 927UE
22                                                 Intel® Pentium® Processor G2100T
     Intel® Core™ i7-3689Y Processor
23                                                 Intel® Core™ i3-3217UE Processor
     Intel® Core™ i5-3439Y Processor
24                                                 Intel® Core™ i3-3120ME Processor
     Intel® Core™ i5-3339Y Processor
25
                                                   Intel® Core™ i3-3217U Processor
26   Intel® Core™ i3-3229Y Processor
                                                   Intel® Core™ i3-3110M Processor
27   Intel® Pentium® Processor 2129Y
                                                   Intel® Core™ i7-3555LE Processor
28   Intel® Xeon Phi™ Coprocessor 5110P

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                   31
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 1   Intel® Core™ i7-3517UE Processor                  Intel® Xeon® Processor E3-1230 v2
 2   Intel® Core™ i5-3610ME Processor                  Intel® Xeon® Processor E3-1225 v2
 3   Intel® Core™ i7-3667U Processor                   Intel® Xeon® Processor E3-1220 v2
 4
     Intel® Core™ i7-3520M Processor                   Intel® Xeon® Processor E3-1220L v2
 5
     Intel® Core™ i7-3517U Processor                   Intel® Core™ i7-3920XM Processor
 6                                                            Extreme Edition
     Intel® Core™ i5-3570S Processor
 7                                                     Intel® Core™ i7-3820QM Processor
     Intel® Core™ i5-3570 Processor
 8                                                     Intel® Core™ i7-3770T Processor
     Intel® Core™ i5-3475S Processor
 9                                                     Intel® Core™ i7-3770S Processor
     Intel® Core™ i5-3470T Processor
10                                                     Intel® Core™ i7-3770K Processor
     Intel® Core™ i5-3470S Processor
11
                                                       Intel® Core™ i7-3770 Processor
12   Intel® Core™ i5-3470 Processor
                                                       Intel® Core™ i7-3720QM Processor
13   Intel® Core™ i5-3427U Processor
                                                       Intel® Core™ i7-3615QM Processor
14   Intel® Core™ i5-3360M Processor
                                                       Intel® Core™ i7-3615QE Processor
15   Intel® Core™ i5-3320M Processor
                                                       Intel® Core™ i7-3612QM Processor
16   Intel® Core™ i5-3317U Processor
                                                       Intel® Core™ i7-3612QM Processor
17   Intel® Core™ i5-3210M Processor
                                                       Intel® Core™ i7-3612QE Processor
18   Intel® Core™ i5-3210M Processor
19                                                     Intel® Core™ i7-3610QM Processor
     Intel® Xeon® Processor E3-1290 v2
20                                                     Intel® Core™ i7-3610QE Processor
     Intel® Xeon® Processor E3-1280 v2
21                                                     Intel® Core™ i5-3570T Processor
     Intel® Xeon® Processor E3-1275 v2
22                                                     Intel® Core™ i5-3570K Processor
     Intel® Xeon® Processor E3-1270 v2
23                                                     Intel® Core™ i5-3550S Processor
     Intel® Xeon® Processor E3-1265L v2
24                                                     Intel® Core™ i5-3550 Processor
     Intel® Xeon® Processor E3-1245 v2
25
                                                       Intel® Core™ i5-3450S Processor
26   Intel® Xeon® Processor E3-1240 v2
                                                         Intel® Core™ i5-3450 Processor
27         Tela reserves the right to supplement the above list as discovery proceeds.
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                         32
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 1           All of the Intel’s 22nm microprocessors and other devices fabricated using Intel’s 22nm
 2   process node, including those listed above, infringe in substantially the same manner. Tela has not
 3
     yet received discovery from Intel on its 22nm process and thus reserves the right to supplement
 4
     these contentions to show that the device charted in Appendices F-G is representative of the other
 5
     22nm Accused Instrumentalities. Discovery, such as Intel’s layout files – including both standard
 6

 7   cell libraries and chip-level layouts – design rules, and process flows will show that the device

 8   charted in Appendices F-G is representative of the other 22nm Accused Instrumentalities listed

 9   above. These sources are not publicly available. In fact, Intel has submitted declarations stating,
10   “Intel takes numerous steps to safeguard confidential information relating to its technology and
11
     business operations. The hardware layout specifications and design rules [] receive the highest
12
     level of protection and security within Intel . . . .” (D. I. 85-1 at ¶ 8.) Intel continued, “these
13
     materials are maintained on a secure network within Intel secure facilities. That secure network is
14

15   monitored by a system administrator who carefully controls access and provides it individually, on

16   a need to know basis, to select employees who have received the appropriate clearance.” (Id. at ¶

17   9.) Given these admissions from Intel, along with its outright refusal to produce any discovery
18
     about its products up to this point, Tela reserves the right to supplement these contentions to show
19
     that the charted 22nm microprocessor is representative of the remaining 22nm Accused
20
     Instrumentalities.
21
             But, even without the information Intel is withholding as of the date of these contentions,
22

23   as stated in Intel’s First Amended Complaint, “Intel’s accused 22nm and 14nm products use the

24   same conductive structures in the gate layer as Intel’s 45nm products[.]” (D. I. 38 at 53.) Thus,
25   according to Intel at least the gate structures in all of the 22nm Accused Instrumentalities
26
     identified above are the same. Intel’s documents further show that the 22nm device charted in
27
     Appendices F-G is representative of all 22nm Accused Instrumentalities. For example, Intel’s
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                        33
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 1   website groups together its 22nm devices. Intel 22nm Technology, Intel Corp., available at
 2   https://www.intel.com/content/www/us/en/silicon-innovations/intel-22nm-technology.html (last
 3
     visited Jan. 3, 2019). The product pages for each of the 22nm Accused Instrumentalities listed
 4
     above also consistently describe the devices as being fabricated with 22nm lithography, without
 5
     distinction. TELADJ00107373- TELADJ00111745.
 6

 7          From public information, it appears that Intel has at least two 22nm processes: 22nm and

 8   22nm FinFET Low Power (“FFL”). Mark Bohr, 22FFL Technology, Intel Corp., available at

 9   https://newsroom.intel.com/newsroom/wp-content/uploads/sites/11/2017/03/Mark-Bohr-22FFL-
10   2017.pdf (last visited Jan. 3, 2019). According to Intel, its 22nm FFL process is “based on proven
11
     22nm and 14nm features.” Intel 22nm FinFET Lower Power (22FFL) Technology: FinFET
12
     technology for the Mainstream, at 1, Intel Corp. 2017, available at
13
     https://newsroom.intel.com/newsroom/wp-content/uploads/sites/11/2017/09/22-ffl-en-fact-
14

15   sheet.pdf (last visited Jan. 3. 2019). Intel further explains that it “has delivered over 7 million

16   FinFET wafers to date and the 22FFL process leverages all of that manufacturing experience to

17   deliver exceptionally high yield.” Id. at 2. Given these statements, Intel’s 22nm FFL processors
18
     and other products fabricated using that process technology are represented by the claim charts
19
     presented in Appendices A-G. Pending further discovery from Intel and on information and
20
     belief, each of Intel’s 22nm and 22nm FFL products practice at least one claim of the Asserted
21
     Patents.
22

23          In addition to the claims currently claim charted in Appendices F-G, Tela reserves the right

24   to supplement these contentions to assert one or more of claims 31, 32, 33, 34, and 35 of the ʼ966
25   Patent and one or more of claims 26, 27, 28, 29, and 30 of the ʼ012 Patent.
26
27

28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                        34
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 1             C.        10nm Accused Instrumentalities
 2             On information and belief, pending discovery from Intel, Intel’s 10 nm microprocessors
 3
     practice all elements of at least one claim of the Asserted Patents. Tela accuses at least the
 4
     following categories of products:
 5
                   Intel Codename: Ice Lake
 6

 7                 Intel Codename: Cannon Lake

 8                 Intel 5G Modems fabricated using Intel’s 10nm lithography process

 9                  (https://newsroom.intel.com/newsroom/wp-content/uploads/sites/11/2017/01/5G-
10
                    modem-fact-sheet.pdf (last visited Jan. 2, 2019))
11
               On information and belief, Intel’s 10nm process practices all elements of at least one claim
12
     of the Asserted Patents. As shown in the below image from an Intel presentation, Intel’s 10nm
13
     process is a “hyper scale[d]” version of its 14nm process. The below image further shows gate
14

15   structures of a substantially rectangular shape that are separated by a 54nm pitch.

16

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25

26    Figure 1: Mark Bohr, Technology Leadership, at 7, Intel Corp., Sept. 19, 2017, available at
      http://newsroom.intel.com/newsroom/wp-content/uploads/sites/11/2017/09/mark-bohr-on-
27
                     intels-technology-leadership.pdf (last visited Jan. 3, 2019)
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                    35
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 1          As is further shown by the image above, devices fabricated using Intel’s 10nm process
 2   include contact structures, shown in red in the right-most portion of the above image. Devices
 3
     fabricated using Intel’s 10nm process further include transistors, as shown below:
 4

 5

 6

 7

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15                                           Figure 2: Id. at 12.

16          As indicated by the below image, devices fabricated using Intel’s 10nm process include

17   metal layers formed above the top surfaces of the gate structures.
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     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                   36
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 1

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11
                                              Figure 3: Id. at 21.
12
            Tela reserves the right to supplement these contentions when Intel produces information
13
     regarding its 10 nm process.
14

15   II.    PATENT LOCAL RULE 3-1(e): LITERAL OR DOCTRINE OF EQUIVALENTS
16          Tela contends that the Intel Accused Instrumentalities literally meet each element of the
17
     Asserted Claims as set forth in the charts attached as Appendices F-G. To the extent that the Intel
18
     Accused Instrumentalities do not literally infringe each of the Asserted Claims, Tela contends that
19
     the Intel Accused Instrumentalities infringe the Asserted Claims under the doctrine of equivalents.
20
21   Discovery is ongoing and Tela reserves the right to supplement this section when Intel provides

22   discovery.

23
     III.   PATENT LOCAL RULE 3-1(f): PRIORITY DATE OF THE ASSERTED PATENTS
24
            Every claim of the Asserted Patents is entitled to a priority date no later than the filing date
25

26   of United States Provisional Patent Application No. 60/781,288, filed March 9, 2006. The below

27   chart provides the specific priority date Plaintiffs contend each asserted claim is entitled to:

28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                     37
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 1                                                                             Conception
                       Patent No.                     Claim #                    Date
 2
                                                   1, 4, 6, 13, 15,           Oct. 20, 2005
 3
                         7,446,352
 4                                                   16, 17, 19               Nov. 16, 2005

 5                                       2, 4, 5, 8, 9, 10, 14, 20, 22,       Oct. 22, 2005
                         7,943,966
                                                 31, 32, 33, 35
 6
                                          2, 4, 5, 6, 8, 9, 10, 26, 27,        Oc. 22, 2005
 7                                                    28, 30
                         7,948,012
 8
                                                     11, 12, 13               Nov. 16, 2005
 9
                                         1, 17, 18, 20, 22, 23, 24, 25,       Oct. 22, 2005
10                                                     26
                       10,141,334
11
                                         2, 3, 4, 5, 6, 7, 8, 9, 10, 11,      Nov. 16, 2005
12                                                      15
13                                                  1, 17, 18, 25             Oct. 22, 2005
14                     10,141,335
                                         2, 3, 4, 5, 6, 7, 8, 9, 10, 11,      Nov. 16, 2005
15                                          15, 20, 22, 23, 24, 26

16
            GDS and layout files cited above are available to Intel on the Tela Source Code Review
17
     Computer in the manner provided in the Protective Order entered by the Court (D. I. 087.)
18

19
     IV.    PATENT LOCAL RULE 3-1(g): IDENTIFICATION OF TELA OR ITS LICENSES’
20          PRODUCTS THAT PRACTICE THE CLAIMED INVENTIONS

21           Patent No.         Claims Practiced                              File Name

22                              1, 4, 6, 13, 16, 17           TDRS_A15a.gds

23                                   1, 4, 6, 16              tela_sdflcp1tc.gds, tela_mxd2i.gds
24                            1, 4, 6, 13, 15-17, 19          Tela_UMC65_TC_sept06v3.gds
25           7,446,352
                                1, 4, 6, 13, 16, 17           UMC_B_p0.gds
26
                                1, 4, 6, 13, 16, 17           Tela45_20080507.gds
27
                                1, 4, 6, 13, 16, 17           tela_e4aa.gds
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                38
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 1          Patent No.       Claims Practiced                             File Name
 2                            1, 4, 6, 13, 16, 17         P12228A_040512.gds
 3                                                        tsb_opt5.gds
                              1, 4, 6, 13, 16, 17
 4
                              1, 4, 6, 13, 16, 17         topcell.gds2
 5
                              1, 4, 6, 13, 16, 17         TSMC45_12321_126_168_B.GDS
 6
                              1, 4, 6, 13, 16, 17         Tela45_126_176_Litho.GDS
 7
                              1, 4, 6, 13, 16, 17         sdf_40_li_merged.gds
 8
                              1, 4, 6, 13, 16, 17         sdff_merged.gds
 9

10                             1, 4, 13, 16, 17           phase2lib.gds

11                       2, 4, 5, 8, 9, 10, 14, 20, 22,   b25a.gds
                                     31, 33
12
                         2, 4, 5, 8, 9, 10, 14, 20, 22,   TDRS_A15a.gds
13                                 31, 33, 35
14                                                        tela_sdflcp1tc.gds, tela_mxd2i.gds
                         2, 4, 5, 8, 9, 10, 14, 20, 22,
15                                     31

16                       2, 4, 5, 8, 9, 10, 20, 22, 31,   Tela_UMC65_TC_sept06v3.gds
                                     33, 35
17
                         2, 4, 5, 8, 9, 10, 14, 20, 22,   UMC_B_p0.gds
18                                 31, 33, 35
19
            7,943,966    2, 4, 5, 8, 9, 10, 14, 20, 22,   Tela45_20080507.gds
20                                 31, 33, 35

21                       2, 4, 5, 8, 9, 10, 14, 20, 22,   Boeing dice ff
                                       31
22
                         2, 4, 5, 8, 9, 10, 14, 20, 22,   tela_e4aa.gds
23                                     31
24                                                        P12228A_040512.gds
                          2, 4, 8, 9, 10, 14, 20, 22,
25                                 31-33, 35

26                       2, 4, 5, 8, 9, 10, 14, 20, 22,   tsb_opt5.gds
                                   31, 33, 35
27
                         2, 4, 5, 8, 9, 10, 14, 20, 22    TSMC28_TELAM2H.gds
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                            39
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 1          Patent No.       Claims Practiced                              File Name
 2                       2, 4, 5, 8, 9, 10, 14, 20, 22,   topcell.gds2
                                   31-33, 35
 3

 4                       2, 4, 5, 8, 9, 10, 14, 20, 22,   tela28.gds
                                     31, 32
 5
                         2, 4, 5, 8, 9, 10, 14, 20, 22,   TSMC45_12321_126_168_B.GDS
 6                                 31, 33, 35
 7                       2, 4, 5, 8, 9, 10, 14, 20, 22,   Tela45_126_176_Litho.GDS
                                   31, 33, 35
 8

 9                       2, 4, 5, 8, 9, 10, 14, 20, 22,   sdf_40_li_merged.gds
                                   31, 33, 35
10
                         2, 4, 5, 8, 9, 10, 14, 20, 22,   sdff_merged.gds
11                                 31-33, 35
12                       2, 4, 9, 10, 14, 20, 22, 31-     phase2lib.gds
13                                  33, 35

14                           2, 4, 10, 14, 20, 22         ht5k_ssi_tela.gds

15                       2, 4, 5, 8, 9, 10, 14, 20, 22    sdfq_1x.gds, A4_top_cell.gds

16                       2, 4, 5, 8, 9, 10, 14, 20, 22,   topcell.gds
                                     31, 32
17
                         2, 4, 5, 8, 9, 10, 14, 20, 22,   tela65lpat.gds
18
                                       31
19
                             2, 4-6, 8-13, 26, 28         b25a.gds
20
                           2, 4-6, 8-13, 26, 28, 30       TDRS_A15a.gds
21
                               2, 4-6, 8-13, 26           tela_sdflcp1tc.gds, tela_mxd2i.gds
22
                           2, 4-6, 8-13, 26, 28, 30       Tela_UMC65_TC_sept06v3.gds
23          7,948,012
                           2, 4-6, 8-13, 26, 28, 30       UMC_B_p0.gds
24

25                         2, 4-6, 8-13, 26, 28, 30       Tela45_20080507.gds

26                           2, 4-6, 8-13, 26, 27         Boeing dice ff

27                             2, 4-6, 8-13, 26           tela_e4aa.gds
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                            40
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 1          Patent No.       Claims Practiced                            File Name
 2                         2, 4-6, 8-13, 26-28, 30      P12228A_040512.gds
 3                                                      tsb_opt5.gds
                          2, 4-6, 8-13, 26, 28, 30
 4
                                2, 4-6, 8-13            TSMC28_TELAM2H.gds
 5
                           2, 4-6, 8-13, 26-28, 30      topcell.gds2
 6
                            2, 4-6, 8-13, 26, 27        tela28.gds
 7
                          2, 4-6, 8-13, 26, 28, 30      TSMC45_12321_126_168_B.GDS
 8
                          2, 4-6, 8-13, 26, 28, 30      Tela45_126_176_Litho.GDS
 9

10                        2, 4-6, 8-13, 26, 28, 30      sdf_40_li_merged.gds

11                         2, 4-6, 8-13, 26-28, 30      sdff_merged.gds

12                        2, 4, 6, 8-13, 26-28, 30      phase2lib.gds

13                               2, 4, 8-13             ht5k_ssi_tela.gds
14                              2, 4-6, 8-13            sdfq_1x.gds, A4_top_cell.gds
15
                            2, 4-6, 8-13, 26, 27        topcell.gds
16
                              2, 4-6, 8-13, 26          tela65lpat.gds
17
                          1. 2, 5, 17, 18, 20, 22-26    TDRS_A15a.gds
18
                           1. 2, 17, 18, 20, 22-26      Tela_UMC65_TC_sept06v3.gds
19
                          1. 2, 5, 17, 18, 20, 22-26    UMC_B_p0.gds
20          10,141,334
                          1. 2, 5, 17, 18, 20, 22-26    Tela45_20080507.gds
21

22                        1-5, 9, 17, 18, 20, 22-26     TSMC45_12321_126_168_B.GDS

23                        1-5, 9, 17, 18, 20, 22-26     Tela45_126_176_Litho.GDS

24                       1, 2, 4, 5 17, 18, 20, 23-26   TDRS_A15a.gds
25                       1, 2, 4, 5 17, 18, 20, 23-26   Tela_UMC65_TC_sept06v3.gds
            10,141,335
26                                                      UMC_B_p0.gds
                         1, 2, 4, 5 17, 18, 20, 23-26
27
                         1, 2, 4, 5 17, 18, 20, 23-26   Tela45_20080507.gds
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                    41
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 1           Patent No.           Claims Practiced                          File Name
 2                              1-5 17, 18, 20, 23-26        TSMC45_12321_126_168_B.GDS
 3                                                           Tela45_126_176_Litho.GDS
                                1-5 17, 18, 20, 23-26
 4

 5           GDS and layout files cited above are available to Intel on the Tela Source Code Review

 6   Computer that will be made available consistent with the Protective Order entered by the Court

 7   (D. I. 087.)
 8
             Further, Samsung is a licensee of the Asserted Patents. Certain of Samsung’s products
 9
     fabricated using a 14nm or smaller process node practice at least claims 2, 4, 5, 8, 9, 10, 14, 20,
10
     and 22 of the ʼ966 Patent and claims 2, 4, 5, 6, 8, 9, 10, 11, 12, and 13 of the ʼ012 Patent. In
11

12   addition, TSMC is a licensee of the Asserted Patents. Certain of TSMC’s products fabricated

13   using a 28nm or smaller process node practice at least claims 2, 4, 5, 8, 9, 10, 14, 20, and 22 of the

14   ʼ966 Patent and claims 2, 4, 5, 6, 8, 9, 10, 11, 12, and 13 of the ʼ012 Patent. Qualcomm is also a
15   licensee of the Asserted Patents. Certain Qualcomm products fabricated by TSMC or Samsung
16
     practice at least claims 2, 4, 5, 8, 9, 10, 14, 20, and 22 of the ʼ966 Patent and claims 2, 4, 5, 6, 8, 9,
17
     10, 11, 12, and 13 of the ʼ012 Patent. Tela reserves the right to supplement this list if and when
18
     discovery is obtained from the third-parties discussed in this paragraph.
19

20   V.      PATENT LOCAL RULE 3-1(h): TIMING OF THE POINT OF FIRST
             INFRINGEMENT, START OF CLAIMED DAMAGES, AND END OF CLAIMED
21           DAMAGES

22           Infringement of the ’966 and ’012 Patents by Intel’s 22nm Processors began when those

23   Processors were first sold in April 2012 (Intel’s First Amended Complaint ¶ 103). Damages for

24   infringement of the ’966 and ’012 Patents by the 22nm Processors begin on December 19, 2012,

25   six years prior to the date when Tela filed its Counterclaims for Infringement on December 19,

26   2018. 35 U.S.C. § 286. The damages period is ongoing and will continue until the ’966 and ’012

27   Patents expire.

28           Infringement of the ’966, ’012, and ’352 Patents by the 14nm Processors and the damages

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                       42
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 1
     period for such infringement began when those Processors were first sold in September 2014
 2
     (Intel’s First Amended Complaint ¶ 103). The damages period is ongoing and will continue until
 3
     the ’966, ’012, and ’352 patents expire.
 4
            Infringement of the ’334 and ’335 patents by Intel’s 14nm Processors began when those
 5
     patents issued on November 27, 2018. The damages period for infringement of the ’335 Patent
 6
     also begins on that date. Damages for the ’334 Patent began when the application resulting in that
 7
     patent published on December 14, 2017. 35 U.S.C. § 154(d). The damages period is ongoing and
 8
     will continue until the ’334 and ’335 patents expire.
 9   VI.     PATENT LOCAL RULE 3-1(i): BASIS FOR ALLEGATIONS OF WILLFUL
             INFRINGEMENT
10
            Tela is entitled to treble damages pursuant to 35 U.S.C. § 284 because Intel’s infringement
11
     of each of the asserted patents is willful, making this an exceptional case (D.I. 83 ¶¶ 39, 48, 57,
12
     65, 74). Tela is also seeking a declaration that Tela is the prevailing party, entitling Tela to
13
     enhanced damages, costs, expenses, and reasonable attorneys’ fees under 35 U.S.C. § 285.
14
            Discovery is ongoing and Intel has not produced any document relevant to its first
15
     knowledge of any of the asserted patents or any analysis conducted on those patents. Nor has Tela
16
     taken any depositions of Intel’s witnesses yet. Tela will update these Contentions after it receives
17
     relevant discovery. Based on Intel’s own allegations, it invested in Tela in 2007 and has been
18
     monitoring Tela’s patent portfolio. Intel also has had an observer on Tela’s Board of Directors
19
     since 2007. As a result, Intel has had knowledge of the ’966 Patent, ’012 Patent, and ’352 Patent
20
     since those patents issued. Further, in May 2011 when Tela and Intel discussed potential purchase
21
     of Tela’s library products, Tela informed Intel that those products were subject to a number of
22
     existing and pending patents, including the ’966 Patent, ’012 Patent, and ’352 Patent.
23
     (TELADJ00121728 - TELADJ00121733). Tela and Intel also discussed Tela’s libraries in
24
     January 2013 and Tela again indicated that its patents covered those libraries, referencing Tela’s
25
     website which lists its patents. (TELADJ00123657 - TELADJ00123676). Further, Intel itself
26
     alleges that it became aware of an assertion by Tela of, according to Intel, all patents in the family
27
     of United States Provisional Application No. 60/781,288, including all of the asserted patents here,
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                     43
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 1   in August 2014 when Tela sent Intel a list of certain patents for a licensing discussion and in

 2   connection with discussions shortly thereafter. That list included the ’966 Patent, ’012 Patent, and

 3   ’352 Patent. As to the ’334 and ’335 Patents, Intel has alleged that it has been closely monitoring

 4   Tela’s patent prosecutions. As a result, Intel knew about the applications for these patents upon

 5   publication of those applications in December 2017 and has known about the patents themselves

 6   since their issuance in November 2018.

 7          Intel undertook and continues its infringing actions despite an objectively high likelihood

 8   that such activities infringe claims of the asserted patents. At a minimum, Intel has been aware of

 9   an objectively high likelihood that its actions constituted and continue to constitute infringement

10   of the asserted patents, and that the asserted patents are valid. Despite its awareness and

11   knowledge of the asserted patents, Intel intentionally made, used, offered for sale, or sold in the

12   United States or imported into the United States the Accused Products that practice one or more

13   claims of the asserted patents.

14   VII.   PATENT LOCAL RULE 3-2 IDENTIFICATION BY PRODUCTION NUMBER OF
            CATEGORIES OF DOCUMENTS CORRESPONDING TO EACH CATEGORY
15

16          A.      Rule 3-2(a)

17          Tela identifies the following documents responsive to this Requirement:

18   TELADJ00122859; TELADJ00122882; TELADJ00122928; TELADJ00122951;
19   TELADJ00122967; TELADJ00123004; TELADJ00123029; TELADJ00123102;
20
     TELADJ00123133; TELADJ00123162; TELADJ00123255; TELADJ00123506;
21
     TELADJ00123522; TELADJ00121272.
22
            B.      Rule 3-2(b)
23
            Tela identifies the following documents responsive to this requirement:
24

25   TELADJ00121900; TELADJ00121964; TELADJ00122186; TELADJ00122200;

26   TELADJ00122179; TELADJ00121860; TELADJ00121928; TELADJ00121980;

27   TELADJ00121981; TELADJ00121984; TELADJ00121996; TELADJ00121997;
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                    44
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 1   TELADJ00122122; TELADJ00122123; TELADJ00122125; TELADJ00122137;
 2   TELADJ00122149; TELADJ00122150; TELADJ00122153; TELADJ00122165;
 3
     TELADJ00122166; TELADJ00122167; TELADJ00122836; TELADJ00122859;
 4
     TELADJ00122882; TELADJ00122905; TELADJ00122928; TELADJ00122951;
 5
     TELADJ00122967; TELADJ00122990; TELADJ00122992; TELADJ00122994;
 6

 7   TELADJ00123002; TELADJ00123004; TELADJ00123029; TELADJ00123054;

 8   TELADJ00123079; TELADJ00123102; TELADJ00123133; TELADJ00123162;

 9   TELADJ00123186; TELADJ00123229; TELADJ00123254; TELADJ00123255;
10   TELADJ00123282; TELADJ00123287; TELADJ00123438; TELADJ00123440;
11
     TELADJ00123444; TELADJ00123447; TELADJ00123449; TELADJ00123450;
12
     TELADJ00123451; TELADJ00123452; TELADJ00123454; TELADJ00123455;
13
     TELADJ00123456; TELADJ00123457; TELADJ00123459; TELADJ00123460;
14

15   TELADJ00123463; TELADJ00123465; TELADJ00123467; TELADJ00123474;

16   TELADJ00123476; TELADJ00123480; TELADJ00123485; TELADJ00123486;

17   TELADJ00123489; TELADJ00123490; TELADJ00123492; TELADJ00123494;
18
     TELADJ00123496; TELADJ00123497; TELADJ00123500; TELADJ00123503;
19
     TELADJ00123505; TELADJ00123506; TELADJ00123522; TELADJ00123547;
20
     TELADJ00123571; TELADJ00123589; TELADJ00123614; TELADJ00123632;
21
     TELADJ00121865; TELADJ00121866; TELADJ00121867; TELADJ00121868;
22

23   TELADJ00121869; TELADJ00121870; TELADJ00121871; TELADJ00121872;

24   TELADJ00121873; TELADJ00121874; TELADJ00121875; TELADJ00121876;
25   TELADJ00121877; TELADJ00121878; TELADJ00121879; TELADJ00121880;
26
     TELADJ00121881; TELADJ00121882; TELADJ00121883; TELADJ00121884;
27
     TELADJ00121885; TELADJ00121886; TELADJ00121887; TELADJ00121888;
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES       45
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     Case 3:18-cv-02848-WHO Document 105-2 Filed 02/15/19 Page 48 of 56



 1   TELADJ00121889; TELADJ00121890; TELADJ00121891; TELADJ00121892;
 2   TELADJ00121893; TELADJ00121894; TELADJ00121895; TELADJ00121896;
 3
     TELADJ00121897; TELADJ00121898; TELADJ00121899. In addition, Tela identifies
 4
     latch.mag, test.gds, and sdff.mag. These layout files are available to Intel on the Tela Source Code
 5
     Review Computer in the manner provided in the Protective Order entered by the Court (D. I. 087).
 6

 7          C.      Rule 3-2(c)

 8          Tela identifies the following documents responsive to this requirement:

 9   TELADJ00111774; TELADJ00112048; TELADJ00112457; TELADJ00112868;
10   TELADJ00116904.
11
            D.      Rule 3-2(d)
12
            Tela identifies the following documents responsive to this requirement:
13
     TELADJ00120935; TELADJ00120954; TELADJ00120973; TELADJ00120992.
14
            E.      Rule 3-2(e)
15

16          Documents relevant to this category of Patent Local Rule 3-2(e) are available to Intel on

17   the Tela Source Code Review Computer in the manner provided in the Protective Order entered by

18   the Court (D. I. 087). In addition, Tela identifies the following documents responsive to this
19   requirement: TELADJ00013781; TELADJ00013823; TELADJ00013843; TELADJ00013861;
20
     TELADJ00013879; TELADJ00013899; TELADJ00122250; TELADJ00122377;
21
     TELADJ00122480; TELADJ00121917; TELADJ00121923; TELADJ00121929;
22
     TELADJ00121930; TELADJ00121941; TELADJ00121954; TELADJ00121998;
23

24   TELADJ00122003; TELADJ00122014; TELADJ00122025; TELADJ00122035;

25   TELADJ00122046; TELADJ00122055; TELADJ00122064; TELADJ00122090;

26   TELADJ00122100; TELADJ00122102; TELADJ00122104; TELADJ00122106;
27
     TELADJ00122110; TELADJ00122112; TELADJ00122114; TELADJ00121970;
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                   46
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 1   TELADJ00121972; TELADJ00122588; TELADJ00121861; TELADJ00122248;
 2   TELADJ00122997; TELADJ00123271; TELADJ00123280.
 3
           F.     Rule 3-2(f)
 4
           TELADJ00120935; TELADJ00120954; TELADJ00120973; TELADJ00120992;
 5
     TELADJ00121292; TELADJ00121303; TELADJ00121690; TELADJ00121715;
 6
     TELADJ00106812.
 7

 8         G.     Local Rule 3-2(g)

 9         Tela identifies the following documents responsive to this requirement:

10   TELADJ00121292; TELADJ00121303; TELADJ00121690.
11         H.     Local Rule 3-2(h)
12
           Tela identifies the following documents responsive to this requirement: .
13
     TELADJ00121345; TELADJ00121381; TELADJ00121402; TELADJ00121404;
14
     TELADJ00121455; TELADJ00121503; TELADJ00121521; TELADJ00121526;
15

16   TELADJ00121571; TELADJ00121715; TELADJ00106812; TELADJ00121909;

17   TELADJ00121913; TELADJ00122583; TELADJ00122600; TELADJ00122604;

18   TELADJ00122621; TELADJ00122625; TELADJ00122627; TELADJ00122629;
19   TELADJ00122674; TELADJ00122680; TELADJ00122686; TELADJ00122688;
20
     TELADJ00122690; TELADJ00122694; TELADJ00122697; TELADJ00122699;
21
     TELADJ00122700; TELADJ00122702; TELADJ00122705; TELADJ00122707;
22
     TELADJ00122710; TELADJ00122716; TELADJ00122720; TELADJ00122724;
23

24   TELADJ00122728; TELADJ00122732; TELADJ00122734; TELADJ00122736;

25   TELADJ00122737; TELADJ00122745; TELADJ00122751; TELADJ00122755;

26   TELADJ00122757; TELADJ00122759; TELADJ00122766; TELADJ00122768;
27
     TELADJ00122769; TELADJ00122773; TELADJ00122782; TELADJ00122783;
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                    47
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 1   TELADJ00122784; TELADJ00122792; TELADJ00122794; TELADJ00122798;
 2   TELADJ00122804; TELADJ00122808; TELADJ00122814; TELADJ00122816;
 3
     TELADJ00122817; TELADJ00122822; TELADJ00122826; TELADJ00122830;
 4
     TELADJ00122834; TELADJ00121962; TELADJ00122170; TELADJ00122173;
 5
     TELADJ00122176; TELADJ00122607; TELADJ00122668; TELADJ00122714;
 6

 7   TELADJ00122749; TELADJ00122788; TELADJ00122630; TELADJ00123996;

 8   TELADJ00124175; TELADJ00125783; TELADJ00124173; TELADJ00125648;

 9   TELADJ00125675; TELADJ00125681; TELADJ00125684; TELADJ00125686;
10   TELADJ00125688; TELADJ00125692; TELADJ00125694; TELADJ00125695;
11
     TELADJ00125710; TELADJ00125714; TELADJ00125747; TELADJ00125792;
12
     TELADJ00125798; TELADJ00122705; TELADJ00125803; TELADJ00125805;
13
     TELADJ00125814; TELADJ00125817; TELADJ00125829; TELADJ00124870;
14

15   TELADJ00124874; TELADJ00124876; TELADJ00124878; TELADJ00125698;

16   TELADJ00122588; TELADJ00125723; TELADJ00125738; TELADJ00124084;

17   TELADJ00124116; TELADJ00124404; TELADJ00122630.
18
            I.      Local Rule 3-2(i)
19
            Certain documents relevant to this category of Patent Local Rule 3-2(e) are available to
20
     Intel on the Tela Source Code Review Computer in the manner provided in the Protective Order
21
     entered by the Court (D. I. 087). In addition, Tela identifies the following documents responsive
22

23   to this requirement: TELADJ00121728; TELADJ00121729; TELADJ00123657;

24   TELADJ00123658; TELADJ00123677; TELADJ00123678; TELADJ00123679;

25   TELADJ00123680; TELADJ00123681; TELADJ00123682; TELADJ00123683;
26
     TELADJ00123684; TELADJ00123685; TELADJ00123686; TELADJ00123687;
27
     TELADJ00123688; TELADJ00123689; TELADJ00123690; TELADJ00123691;
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                    48
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 1   TELADJ00123692; TELADJ00123693; TELADJ00123694; TELADJ00123695;
 2   TELADJ00123696; TELADJ00123719; TELADJ00123745; TELADJ00123759;
 3
     TELADJ00123774; TELADJ00123804; TELADJ00123831; TELADJ00123857;
 4
     TELADJ00123878; TELADJ00123903; TELADJ00123925; TELADJ00123947;
 5
     TELADJ00123969; TELADJ00123996; TELADJ00124008; TELADJ00124053;
 6

 7   TELADJ00124054; TELADJ00124055; TELADJ00124056; TELADJ00124057;

 8   TELADJ00124058; TELADJ00124068; TELADJ00124069; TELADJ00013781;

 9   TELADJ00121964; TELADJ00122588; TELADJ00122630; TELADJ00122705;
10   TELADJ00124070; TELADJ00124084; TELADJ00124103; TELADJ00124107;
11
     TELADJ00124108; TELADJ00124112; TELADJ00124116; TELADJ00124136;
12
     TELADJ00124138; TELADJ00124173; TELADJ00124181; TELADJ00124248;
13
     TELADJ00124254; TELADJ00124260; TELADJ00124266; TELADJ00124274;
14

15   TELADJ00124282; TELADJ00124288; TELADJ00124294; TELADJ00124300;

16   TELADJ00124306; TELADJ00124313; TELADJ00124319; TELADJ00124325;

17   TELADJ00124333; TELADJ00124342; TELADJ00124351; TELADJ00124359;
18
     TELADJ00124367; TELADJ00124375; TELADJ00124383; TELADJ00124389;
19
     TELADJ00124394; TELADJ00124397; TELADJ00124400; TELADJ00124401;
20
     TELADJ00124402; TELADJ00124403; TELADJ00124404; TELADJ00124450;
21
     TELADJ00124459; TELADJ00124462;TELADJ00124463; TELADJ00124481;
22

23   TELADJ00124482; TELADJ00124524; TELADJ00124525; TELADJ00124536;

24   TELADJ00124545; TELADJ00124554; TELADJ00124569; TELADJ00124570;
25   TELADJ00124585; TELADJ00124594; TELADJ00124606; TELADJ00124617;
26
     TELADJ00124625; TELADJ00124632; TELADJ00124643; TELADJ00124651;
27
     TELADJ00124662; TELADJ00124663; TELADJ00124671; TELADJ00124679;
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES       49
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 1   TELADJ00124685; TELADJ00124692; TELADJ00124701; TELADJ00124712;
 2   TELADJ00124720; TELADJ00124729; TELADJ00124737; TELADJ00124745;
 3
     TELADJ00124754; TELADJ00124761; TELADJ00124769; TELADJ00124778;
 4
     TELADJ00124786; TELADJ00124794; TELADJ00124802; TELADJ00124810;
 5
     TELADJ00124818; TELADJ00124827; TELADJ00124847; TELADJ00124848;
 6

 7   TELADJ00124849; TELADJ00124870; TELADJ00124874; TELADJ00124876;

 8   TELADJ00124878; TELADJ00124880; TELADJ00124881; TELADJ00124882;

 9   TELADJ00124883; TELADJ00124884; TELADJ00124885; TELADJ00124886;
10   TELADJ00124887; TELADJ00124888; TELADJ00124889; TELADJ00124913;
11
     TELADJ00124928; TELADJ00124954; TELADJ00124980; TELADJ00124991;
12
     TELADJ00125000; TELADJ00125010; TELADJ00125019; TELADJ00125029;
13
     TELADJ00125038; TELADJ00125048; TELADJ00125057; TELADJ00125067;
14

15   TELADJ00125076; TELADJ00125085; TELADJ00125094; TELADJ00125097;

16   TELADJ00125099; TELADJ00125101; TELADJ00125103; TELADJ00125105;

17   TELADJ00125107; TELADJ00125109; TELADJ00125110; TELADJ00125112;
18
     TELADJ00125114; TELADJ00125116; TELADJ00125118; TELADJ00125120;
19
     TELADJ00125122; TELADJ00125124; TELADJ00125126; TELADJ00125129;
20
     TELADJ00125131; TELADJ00125133; TELADJ00125135; TELADJ00125137;
21
     TELADJ00125138; TELADJ00125139; TELADJ00125141; TELADJ00125170;
22

23   TELADJ00125193; TELADJ00125242; TELADJ00125276; TELADJ00125329;

24   TELADJ00125374; TELADJ00125427; TELADJ00125478; TELADJ00125486;
25   TELADJ00125503; TELADJ00125511; TELADJ00125520; TELADJ00125528;
26
     TELADJ00125534; TELADJ00125542; TELADJ00125550; TELADJ00125558;
27
     TELADJ00125566; TELADJ00125575; TELADJ00125630; TELADJ00125648;
28

     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES       50
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 1   TELADJ00125675; TELADJ00125681; TELADJ00125684; TELADJ00125686;
 2   TELADJ00125688; TELADJ00125692; TELADJ00125694; TELADJ00125695;
 3
     TELADJ00125698; TELADJ00125710; TELADJ00125714; TELADJ00125723;
 4
     TELADJ00125732; TELADJ00125738; TELADJ00125747; TELADJ00125756;
 5
     TELADJ00125792; TELADJ00125798; TELADJ00125803; TELADJ00125805;
 6

 7   TELADJ00125814; TELADJ00125817; TELADJ00125829; TELADJ00125835;

 8   TELADJ00125836; TELADJ00125837; TELADJ00125838; TELADJ00125839;

 9   TELADJ00125840; TELADJ00125841; TELADJ00125842; TELADJ00125843;
10   TELADJ00125845.
11
            J.     Local Rule 3-2(j)
12
            Tela does not allege that its patents are subject to a F/RAND commitment or agreement.
13
     Thus, no such documents need be identified.
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     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                              51
     Case No. 18-CV-02848-WHO
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 1   .

 2
     DATED: January 10, 2019         Respectfully submitted,
 3
                                     PEPPER HAMILTON LLP
 4

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     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                     52
     Case No. 18-CV-02848-WHO
     Case 3:18-cv-02848-WHO Document 105-2 Filed 02/15/19 Page 55 of 56



 1                                         PROOF OF SERVICE

 2                  I am employed in the County of Suffolk, State of Massachusetts. I am over the age
     of 18 and not a party to the within action. My business address is: 125 High Street, 19th Floor,
 3   High Street Tower, Boston, Massachusetts 02110.
 4
                     On January 10, 2019, I served the following documents by placing a true copy
 5   thereof in a sealed envelope(s) on the persons below as follows:

 6           DEFENDANT TELA INNOVATIONS, INC.’S DISCLOSURE OF ASSERTED
              CLAIMS AND INFRINGEMENT CONTENTIONS WITH RESPECT TO
 7            PLAINTIFF INTEL CORP. PATENT L. R. 3-1

 8
                      Adam R. Alper                                   Alex Henriques
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                   555 California Street                            Todd M. Friedman
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14                  Fax: 415-439-1500                              New York, NY 10022

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                    Fax: 213-680-8500                               Fax: 312-862-2200
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     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                 53
     Case No. 18-CV-02848-WHO
     Case 3:18-cv-02848-WHO Document 105-2 Filed 02/15/19 Page 56 of 56



 1           Email: michael.devries@kirkland.com            Email: nyika.strickland@kirkland.com
 2

 3

 4            (E-MAIL or ELECTRONIC TRANSMISSION) Based on a court order or an agreement
               of the parties to accept service by e-mail or electronic transmission, I caused the
 5             documents to be sent to the persons at the e-mail addresses listed. I did not receive,
               within a reasonable time after the transmission, any electronic message or other
 6             indication that the transmission was unsuccessful.
 7

 8           I declare under penalty of perjury that I am employed in the office of a member of the bar
     of this Court at whose direction this service was made and that the foregoing is true and correct.
 9
                      Executed on January 10, 2019, at Redwood City, California.
10

11                                                   /s/Ashley McDonough
                                                     Ashley McDonough
12

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     #51455657 v2
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     DEFENDANT TELA INNOVATIONS INC.’S PATENT L. R. 3-1 DISCLOSURES                                 54
     Case No. 18-CV-02848-WHO
